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                    UNITED STATES DISTRICT COURT FOR THE
               MIDDLE DISTRICT OF FLORIDA JACKSONVILLE DIVISION

   RIVER CITY EDUCATION ORGANIZATION,
   INC., a Florida not for profit corporation d/b/a San
   Jose Academy & San Jose Preparatory High
   School, PALM BAY EDUCATION GROUP,
   INC., a Florida not for profit corporation d/b/a       Case No.:
   Palm Bay Preparatory Academy, and PINELLAS
   EDUCATION ORGANIZATION, INC., a Florida
   not for profit corporation d/b/a Enterprise High
   School Charter School,
          Plaintiffs,
   v.
   MARCUS MAY, an individual, MARY
   ELIZABETH (WALKER) MAY, an individual,
   MARY ELIZABETH (WALKER) MAY, as
   Trustee of the Morningwood Trust, the
   MORNINGWOOD TRUST, a Florida Trust,
   STEVEN KUNKEMOELLER, an individual,
   SUSAN M. KUNKEMOELLER, an individual,
   SUSAN M. KUNKEMOELLER, as Trustee of the
   Susan M. Kunkemoeller Trust, the SUSAN M.
   KUNKEMOELLER TRUST, an Ohio Trust,
   NEWPOINT EDUCATION PARTNERS, LLC, a
   Florida limited liability company, MIDWEST
   EDUCATION PARTNERS, LLC, a Florida
   limited      liability   company,      SCHOOL
   WAREHOUSE, INC., a Florida corporation,
   REARDEN CAPITAL, LLC, a Florida limited
   liability company, SOLO PRODUCTS, INC., an
   Ohio corporation, MEADOW SPUR, LLC, an
   Ohio Limited Liability Company, RED
   IGNITION, LLC, a Nevada corporation, 4855
   MAIN ST. PROP., LLC, a Florida limited liability
   company, CROSSBURN PROPERTIES, LLC, a
   Florida limited liability company, MARKET
   CANTON, LLC, an Ohio limited liability
   company, BLUE VICTORIAN PROPERTY,
   LLC, a Florida limited liability company, 840 W.
   STATE ST., LLC, a Florida limited liability
   company, LEEKCA PROPERTIES, LLC, a
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    Florida limited liability company, GALT
    SOLUTIONS, LLC, a Florida limited liability
    company, ROOSEVELT PROPERTY, LLC, a
    Florida limited liability company, 5806
    BROADWAY PROPERTIES, LLC, a Florida
    limited liability company, LEASING CO
    FLORIDA, LLC, a Florida limited liability
    company, SR 370 VENTURE, LLC, a Florida
    limited liability company, GULFSTREAM, LLC,
    a limited liability company, D’ANCONIA
    DEVELOPMENT, 4877 PEARL PROPERTY,
    LLC, a Florida limited liability company, and
    JOHN DOES 1-10.
             Defendants.
  _________________________________________/

                                       COMPLAINT

        Plaintiffs RIVER CITY EDUCATION ORGANIZATION, INC., a Florida not for

 profit corporation d/b/a San Jose Academy & San Jose Preparatory High School, PALM

 EDUCATION GROUP, INC., a Florida not for profit corporation d/b/a Palm Bay Preparatory

 Academy, and PINELLAS EDUCATION ORGANIZATION, INC., a Florida not for profit

 corporation d/b/a Enterprise High School Charter School (collectively, “Plaintiffs”), by and

 through their undersigned counsel, hereby complain against the above-named Defendants and

 allege as follows:

                                     INTRODUCTION

        1.      This Complaint asserts violations of the federal Racketeer Influenced and

 Corrupt Organizations Act (“RICO”), Florida Civil Remedies for Criminal Practices Act

 (“Florida RICO”), and other related state law claims against members and affiliates of the

 “May Enterprise,” an association-in-fact enterprise comprised of individuals and entities led

 by Marcus May, an individual previously engaged in the business of starting and managing


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 public charter schools who was recently convicted criminally in Escambia County, Florida, of

 perpetrating an expansive fraudulent scheme on charter schools, including Plaintiffs.

            2.      The May Enterprise, masterminded and led by Marcus May (“May”), incudes:

 (a) May; (b) Steven Kunkemoeller, May’s business partner; (c) Mary Elizabeth (Walker) May

 (hereinafter, “Mary May”), the former wife of Marcus May; 1 (d) Susan M. Kunkemoeller,

 Steven Kunkemoeller’s wife; (e) Solo Products, Inc., an Ohio corporation directed and

 controlled by Kunkemoeller; (f) Newpoint Education Partners, LLC, a Florida limited liability

 company directed and controlled by May; (g) School Warehouse, Inc., a Florida corporation

 directed and controlled by Kunkemoeller; (h) Red Ignition, LLC, a Nevada limited liability

 company directed and controlled by May and Mary May; (i) D.S.D. Group, Ltd., an Ohio

 limited liability company directed and controlled by Kunkemoeller; (j) Rearden Capital, LLC,

 a Florida not for profit corporation directed and controlled by May and Mary May; and (k)

 other entities related to the Mays and Kunkemoellers. These individuals collectively are

 referred to hereinafter as the “RICO Defendants.”

            3.      For more than seven years, the May Enterprise defrauded numerous individuals,

 entities, and public agencies out of millions of dollars’ worth of cash and other property.

 Plaintiffs are merely several of the many victims of the May Enterprise’s racketeering

 activities, which spanned numerous years and included fraudulent activity in at least two states

 (Florida and Ohio).

            4.      Specifically, from approximately 2009 to 2016 (and in many respects

 continuing to the present), the RICO Defendants have sought for financial gain and other



 1
     Marry and May finalized a sham divorced on July 13, 2017.

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 reasons to defraud and otherwise injure Plaintiffs and others by means of a series of schemes

 and artifices they contrived and executed through a pattern of racketeering activity.

        5.      Through the commission of a variety of criminal acts, the May Enterprise has

 illegally divested and deprived Plaintiffs of their property—causing them extensive harm.

 These criminal acts were willful and intended to defraud Plaintiffs of substantial sums of

 money, while bestowing ill-gotten monetary and other benefits on the May Enterprise and its

 various members.

        6.      The RICO Defendants’ criminal behavior constitutes predicate acts under

 federal and state racketeering statutes. As described in more detail below, members of the May

 Enterprise were convicted criminally of the following:

                •   Racketeering:     Members of the May Enterprise unlawfully

                    conducted or participated in racketeering activity.

                •   Organized Fraud: Members of the May Enterprise engaged in

                    organized fraud with an aggregate value of the property obtained

                    more than $50,000.

        7.      The egregious misconduct of the RICO Defendants entitles Plaintiffs to the

 recovery of damages, including, but not limited to, compensatory and treble damages for: (a)

 the value of the assets illegally and wrongfully taken from Plaintiffs through the RICO

 Defendants’ crimes and illegal activities; (b) attorneys’ fees, expenses, and other damages

 incurred by Plaintiffs due to the RICO Defendants’ misconduct; (c) equitable and injunctive

 relief; (d) punitive damages; and (e) other general damages caused by the RICO Defendants.

        8.      Plaintiffs also assert state-law claims against the RICO Defendants and the

 Affiliate Defendants (defined below) (collectively, the “Defendants”) for, inter alia, violation

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 of Florida RICO, breach of contract, breach of fiduciary duty, fraud, and unjust enrichment,

 which all arise out of the Defendants’ wrongful and illegal conduct.

                        PARTIES AND RELEVANT NON-PARTIES

                                             Plaintiffs

        9.      Plaintiff River City Education Organization, Inc. (“River City Education”), is

 a Florida not for profit corporation that at all times relevant to this litigation has operated and

 continues to operate two charter schools in Duval County, Florida, known as San Jose

 Academy and San Jose Preparatory High School. River City Education suffered substantial

 losses due to the May Enterprise’s fraudulent conduct.

        10.     Plaintiff Palm Bay Education Group, Inc., d/b/a Palm Bay Preparatory

 Academy (“Palm Bay Education”), is a Florida not for profit corporation that operates a

 charter school in Bay County, Florida, known as Palm Bay Preparatory Academy. Prior to

 2015, Palm Bay Preparatory Academy was two separate charter schools, one serving students

 in grades 6 through 8 with the other serving students in grades 9 through 12. In 2015, these

 two charter schools were consolidated into the Palm Bay Preparatory Academy. Palm Bay

 Education, as the parent corporation, suffered substantial losses due to the May Enterprise’s

 fraudulent conduct.

        11.     Plaintiff Pinellas Education Organization, Inc. (“Enterprise High School”), is

 a Florida not for profit corporation that at all times relevant to this litigation has operated and

 continues to operate a charter school in Pinellas County, Florida, known as Enterprise High

 School Charter School. Enterprise High School suffered substantial losses due to the May

 Enterprise’s fraudulent conduct.


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                                        RICO Defendants

        12.      The RICO Defendants identified below are individuals and entities that have

 conspired to conduct the affairs, directly and indirectly, of the May Enterprise through a pattern

 of racketeering activity. Each of the RICO Defendants has committed criminal acts in

 furtherance of defrauding the Plaintiffs of substantial sums of money, and each has participated

 in the operation and management of the May Enterprise. As noted above, these Defendants

 are referred to collectively herein as the “RICO Defendants.”

        13.     Defendant May is an individual currently incarcerated in the Florida prison

 system. May is the person primarily responsible for originating, assembling, and leading the

 May Enterprise. May directed and controlled Newpoint Education Partners, LLC, which

 managed the victim charter schools in this case. May engaged in egregious and fraudulent self-

 dealing with the victim charter schools and attempted to conceal his conduct by creating

 various shell companies and recruiting other individuals to participate in the May Enterprise.

        14.     On October 4, 2018, May was convicted on two counts of Racketeering and one

 count of First-Degree Organized Fraud in case number 2017-CF-3312-A in Escambia County,

 Florida (the “May Criminal Case”), in connection with the same conduct serving as the basis

 for this action. Plaintiffs were victims in that case. A true and correct copy of the Judgment

 in the May Criminal Case is attached hereto as Exhibit “1.”

        15.     Defendant Steven Kunkemoeller (“Kunkemoeller”) was a business associate of

 May and directly benefitted from and assisted May in carrying out the illegal scheme to defraud

 Plaintiffs. Kunkemoeller played a key role in the May Enterprise by creating shell companies

 that directly participated in the May Enterprise Scheme. On March 16, 2018, Kunkemoeller

 was convicted of Racketeering and First-Degree Organized Fraud in case number 2017-CF-

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 3312-B in Escambia County, Florida (the “Kunkemoeller Criminal Case”), in connection with

 the same conduct serving as the basis for this action. Plaintiffs were victims in that case. A

 true and correct copy of the Judgment in the Kunkemoeller Criminal Case is attached hereto as

 Exhibit “2.”

        16.     Defendant Mary Elizabeth (Walker) May (“Mary May”) is May’s ex-wife.

 Mary May directly benefitted from and assisted May in carrying out the illegal scheme to

 defraud Plaintiffs.   Mary May, in both her individual capacity and as Trustee of the

 Morningwood Trust, played a key role in the May Enterprise by creating shell companies that

 directly participated in the May Enterprise Scheme (described more fully below). In an effort

 to conceal and impede the ability of victims of the May Enterprise Scheme to recover funds

 from which they were defrauded, Mary May and May agreed to a sham divorce, whereupon

 Mary May ended up with millions of dollars’ worth of ill-gotten cash and other property. Mary

 May assisted the May Enterprise in, inter alia, the Money Laundering Scheme (described more

 fully below) and the Real Estate Acquisition Scheme.

        17.     Defendant     Susan    M.    Kunkemoeller      (“Susan     Kunkemoeller”)      is

 Kunkemoeller’s wife. Susan Kunkemoeller, in both her individual capacity and as Trustee of

 the Susan M. Kunkemoeller Trust, materially assisted and knowingly benefitted from the May

 Enterprise in carrying out the illegal scheme to defraud Plaintiffs. In an effort to conceal and

 impede the ability of victims of the May Enterprise Scheme to recover funds from which they

 were defrauded, Susan Kunkemoeller played a key role in the May Enterprise by assisting in,

 inter alia, the Money Laundering Scheme (described more fully below) and the Real Estate

 Acquisition Scheme.



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        18.     Defendant Midwest Education Partners, LLC d/b/a Cambridge Education

 Group (“Cambridge Education Group”), is a Florida limited liability company that was

 directed and controlled by May. Under the direction of May, Cambridge Education Group

 used other entities, such as Newpoint Education Partners, as instrumentalities by which to take

 control of the finances of the victim charter schools and conduct the affairs of the May

 Enterprise Scheme perpetrated by the May Enterprise.

        19.     Defendant Newpoint Education Partners, LLC (“Newpoint Education

 Partners”), was a Florida limited liability company directed and controlled by May and

 Cambridge Education Group. While technically a separate legal entity, Newpoint Education

 Partners was in fact an alter ego of Cambridge Education Group and was used as an

 instrumentality by Cambridge Education Group, under the direction and control of May, to

 perpetrate the May Enterprise Scheme. Under the direction of May, Newpoint Education

 Partners contracted with each of the victim charter schools to provide management services,

 took control of their finances, and abused this fiduciary relationship to perpetrate the May

 Enterprise Scheme.

        20.     Defendant School Warehouse, Inc. (“School Warehouse”), is a Florida

 corporation directed and controlled by Kunkemoeller. School Warehouse participated in the

 May Enterprise’s illegal acts and received funds fraudulently obtained from the Plaintiffs.

 Kunkemoeller created School Warehouse with the specific intent for it to serve as a shell

 company and conduit for the Fraudulent Invoicing Scheme and Money Laundering Scheme

 (defined below) that the May Enterprise perpetrated against the victim charter schools.

        21.     Defendant Red Ignition, LLC (“Red Ignition, LLC”), is a Nevada limited

 liability company directed and controlled by May. Red Ignition, LLC, participated in the RICO

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 Defendants’ illegal acts and received funds fraudulently obtained from the Plaintiffs. May

 created Red Ignition, LLC, with the specific intent for it to serve as a shell company and conduit

 for the Fraudulent Invoicing Scheme that he perpetrated on the victim charter schools. May

 later sold Red Ignition, LLC, to Kunkemoeller for $100,000, despite Red Ignition, LLC, having

 no assets, no liabilities, and no employees.

        22.     Rearden Capital, LLC (“Rearden Capital”), is a Florida limited liability

 company that was directed and controlled by May and Mary May. Mary May is listed as

 Rearden Capital’s manager and registered agent on the Florida Department of State, Division

 of Corporation’s online database. On multiple occasions, Rearden Capital participated in the

 Money Laundering Scheme, Fraudulent Apex Rebate Scheme, and Real Estate Acquisition

 Scheme perpetrated by the May Enterprise. Rearden Capital owns, inter alia, 1500 Superior

 Rd., Canton, Ohio 44705, and 251 Schocalog Rd., Akron, Ohio 44313.

        23.     Solo Products, Inc. (“Solo Products”), is an Ohio corporation that was directed

 and controlled by Kunkemoeller. Kunkemoeller is listed as Solo Products’ incorporator and

 registered agent on the Ohio Secretary of State’s online database. Solo Products participated

 in, inter alia, the Fraudulent Invoicing Scheme and Money Laundering Scheme perpetrated by

 the May Enterprise.

        24.     D.S.D. Group, Ltd. d/b/a Direct Store Delivery (“Direct Store Delivery”) is an

 Ohio limited liability company that was directed and controlled by Kunkemoeller. Direct Store

 Delivery’s operating agreement shows Kunkemoeller as having a 100% ownership interest in

 the company. Direct Store Delivery participated in the Fraudulent Invoicing Scheme and

 Money Laundering Scheme perpetrated by the May Enterprise.



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                                       Affiliate Defendants

         25.     The Affiliate Defendants identified below are individuals and entities that the

  RICO Defendants utilized as shell entities to receive and hold the May Enterprise’s ill-gotten

  proceeds in furtherance of defrauding the Plaintiffs.       These Defendants are referred to

  collectively herein as the “Affiliate Defendants.”

         26.     The Susan M. Kunkemoeller Trust (“Kunkemoeller Trust”), is an Ohio trust

  directed and controlled by Susan Kunkemoeller, as Trustee.          The Kunkemoeller Trust

  participated in, and was unjustly enriched by, the Money Laundering Scheme and the Real

  Estate Acquisition Scheme perpetrated by the May Enterprise.

         27.     The Morningwood Trust (“Morningwood Trust”) is a Florida Trust. Upon

  information and belief, Mary May is the Trustee of the Morningwood Trust, which participated

  in, and was unjustly enriched by, the Money Laundering Scheme and the Real Estate

  Acquisition Scheme perpetrated by the May Enterprise.

         28.     Leekca Properties, LLC, (“Leekca Properties”), is a Florida limited liability

  company that was directed and controlled by May and Mary May. Mary (Walker) May is listed

  as Leekca Properties’ manager and registered agent on the Florida Department of State,

  Division of Corporation’s online database. Leekca Properties participated in, and was unjustly

  enriched by, the Money Laundering Scheme and the Real Estate Acquisition Scheme

  perpetrated by the May Enterprise.

         29.     5806 Broadway Properties, LLC, (“Broadway Properties”), is a Florida limited

  liability company that was directed and controlled by May and Mary May. Mary (Walker)

  May is listed as Broadway Properties’ manager and registered agent on the Florida Department

  of State, Division of Corporation’s online database. Broadway Properties participated in, and

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  was unjustly enriched by, the Money Laundering Scheme and the Real Estate Acquisition

  Scheme perpetrated by the May Enterprise.

         30.     Galt Solutions, LLC (“Galt Solutions”), is a Florida limited liability company

  that was directed and controlled by May and Mary May. Mary (Walker) May is listed as Galt

  Solution’s manager and registered agent on the Florida Department of State, Division of

  Corporation’s online database. Galt Solutions participated in, and was unjustly enriched by,

  the Money Laundering Scheme and the Real Estate Acquisition Scheme perpetrated by the

  May Enterprise.

         31.     Roosevelt Property, LLC (“Roosevelt Property”), is a Florida limited liability

  company, doing business in Ohio, that was directed and controlled by May and Mary May.

  Roosevelt Property participated in, and was unjustly enriched by, inter alia, the Money

  Laundering Scheme and the Real Estate Acquisition Scheme perpetrated by the May

  Enterprise.

         32.     840 W. State St., LLC (“840 W. State St.”), is a Florida limited liability

  company that was directed and controlled by May and Mary May. Mary (Walker) May is listed

  as 840 W. State St.’s registered agent on the Florida Department of State, Division of

  Corporation’s online database. May is listed as its manager. 840 W. State St. participated in,

  and was unjustly enriched by, the Money Laundering Scheme and the Real Estate Acquisition

  Scheme perpetrated by the May Enterprise.

         33.     Blue Victorian Property, LLC (“Blue Victorian Property”), is a Florida limited

  liability company that was directed and controlled by May and Mary May. Mary (Walker)

  May is listed as Blue Victorian Property’s registered agent on the Florida Department of State,

  Division of Corporation’s online database. May is listed as its manager. Blue Victorian

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  Property participated in, and was unjustly enriched by, the Money Laundering Scheme and the

  Real Estate Acquisition Scheme perpetrated by the May Enterprise.

         34.    Crossburn Properties, LLC (“Crossburn Properties”), is a Florida limited

  liability company that, upon information and belief, was directed and controlled by May, Mary

  May and/or Kunkemoeller. Crossburn Properties participated in, and was unjustly enriched

  by, the Money Laundering Scheme and the Real Estate Acquisition Scheme perpetrated by the

  May Enterprise.

         35.    4855 Main St. Prop., LLC (“Main Street Properties”), is a Florida limited

  liability company that was directed and controlled by May and Mary May. Marcus May is

  listed as Main Street Properties’ manager and registered agent on the Florida Department of

  State, Division of Corporation’s online database. Main Street Properties participated in, and

  was unjustly enriched by, the Money Laundering Scheme and the Real Estate Acquisition

  Scheme perpetrated by the May Enterprise.

         36.    Market Canton, LLC (“Market Canton”), is an Ohio limited liability company

  that, upon information and belief, was directed and controlled by May, Mary May and/or

  Kunkemoeller. Market Canton participated in, and was unjustly enriched by, the Money

  Laundering Scheme and the Real Estate Acquisition Scheme perpetrated by the May

  Enterprise.

         37.    Meadow Spur, LLC (“Meadow Spur”), is an Ohio limited liability company

  that, upon information and belief, is directed and controlled by May and Mary May. Meadow

  Spur participated in, and was unjustly enriched by, the Money Laundering Scheme and the

  Real Estate Acquisition Scheme perpetrated by the May Enterprise. Meadow Spur owns the

  real property located at 1133 Meadow Spur, Akron, Ohio 44333.

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         38.    Leasing Co Florida, LLC (“Leasing Co”), is a Florida limited liability company

  that, upon information and belief, is directed and controlled by May and Mary May. Leasing

  Co participated in, and was unjustly enriched by, the Money Laundering Scheme and the Real

  Estate Acquisition Scheme perpetrated by the May Enterprise. Leasing Co owns the real

  property located at 13334 Torresina Terrace, Bradenton, Florida 34211.

         39.    SR 370 Venture, LLC (“SR 370 Venture”), is a Florida limited liability

  company that, upon information and belief, is directed and controlled by May and Mary May.

  SR 370 Venture participated in, and was unjustly enriched by, the Money Laundering Scheme

  and the Real Estate Acquisition Scheme perpetrated by the May Enterprise.

         40.    Gulfstream, LLC (“Gulfstream”), is a limited liability company that, upon

  information and belief, is directed and controlled by May and Mary May.         Gulfstream

  participated in, and was unjustly enriched by, the Money Laundering Scheme and the Real

  Estate Acquisition Scheme perpetrated by the May Enterprise.

         41.    D’Anconia Development (“D’Anconia Development”) is an entity that, upon

  information and belief, is directed and controlled by May and Mary May.          D’Anconia

  Development participated in, and was unjustly enriched by, the Money Laundering Scheme

  and the Real Estate Acquisition Scheme perpetrated by the May Enterprise.

         42.    4877 Pearl Property, LLC (“Pearl Property”), is a Florida limited liability

  company that is directed and controlled by Mary May. Mary May is listed as Main Street

  Properties’ manager and registered agent on the Florida Department of State, Division of

  Corporation’s online database. Pearl Property participated in, and was unjustly enriched by,

  the Money Laundering Scheme and the Real Estate Acquisition Scheme perpetrated by the

  May Enterprise.

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                      John Does 1-10 and Non-Party RICO Co-Conspirators

          43.      Certain other non-party individuals may have played key roles, directly or

  indirectly, in the May Enterprise’s efforts to defraud Plaintiffs, including the RICO

  Defendants’ confederates not named in this Complaint and other individuals who have not yet

  been identified. Plaintiffs reserve their right to name such entities or individuals as Defendants

  should their involvement with the May Enterprise be discovered through litigation.

                                    JURISDICTION AND VENUE

          44.      This Court has subject-matter jurisdiction over Plaintiffs’ claims pursuant to

  28 U.S.C. § 1331 and 28 U.S.C. § 1367 because: (a) some of the claims in this action arise

  under the Racketeer Influenced and Corrupt Organizations (“RICO”) Act, 18 U.S.C. §§ 1961-

  1968; and (b) the remaining claims are so related to the claims within this Court’s original

  jurisdiction that they form part of the same case or controversy under Article III of the United

  States Constitution.

          45.      This Court has personal jurisdiction over Defendants pursuant to: (a) 18 U.S.C.

  § 1965; and (b) Florida’s long-arm statute, section 48.193, Florida Statutes.

          46.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a)(2) because a

  substantial part of the actions and events giving rise to this action occurred within this judicial

  district and division.

                                    GENERAL ALLEGATIONS

        I.      Background on Florida Charter Schools

          47.      Charter schools in Florida are public schools. Fla. Stat. § 1002.33(1). Just like

  traditional public schools, charter schools are publicly funded, tuition-free, and open to all

  members of the public. Fla. Stat. § 1002.33. However, unlike their district school counterparts,
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  the operations of a charter school are not managed by the locally elected school board, but

  rather by an independent governing board of the charter school. Fla. Stat. § 1002.33(9). All

  governing board members are unpaid and serve as volunteers.

         48.     Charter schools in Florida are governed by section 1002.33, Florida Statutes

  (the “Charter Statute”), which “is comprehensive in its treatment of all aspects of the creation,

  operation, and termination of charter schools.” School Bd. of Miami-Dade Cnty. v. Survivors

  Charter Schools, Inc., 3 So.3d 1220, 1229 (Fla. 2009). The Charter Statute requires that charter

  schools, among other things, be nonsectarian and comply with the requirements of the Public

  Records Act. Charter school governing boards are also required to hold meetings open to the

  public in compliance with Florida’s Sunshine Law. Fla. Stat. §§ 286.011, 1002.33(16).

         49.     While the operations of charter schools are managed by an independent

  governing board, charter schools still maintain a close relationship with the school district

  within which they operate. Fla. Stat. § 1002.33(5). Any person or entity wishing to open a

  charter school within a school district must first submit an application to the school board. Fla.

  Stat. § 1002.33(3). The school board then reviews the application using an evaluation

  instrument developed by the Florida Department of Education. Fla. Stat. § 1002.33(6)(b). The

  school board may then approve or deny the application by a majority vote. Id.

         50.     Once the application is approved, the school board takes on the role of being

  the sponsor for the charter school. Fla. Stat. § 1002.33(5). The sponsoring school board is

  required to enter into a charter contract with the charter school, setting forth the terms and

  conditions under which the charter school will operate. Fla. Stat. § 1002.33(7). Once a charter

  contract is executed, the sponsor assumes a supervisory role over the charter school, ensuring

  that the school follows all applicable laws, complies with the terms of the charter contract, and

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  makes adequate progress towards the educational goals established in the charter contract. Fla.

  Stat. § 1002.33(5). Relevant to this litigation, the sponsor also serves as an intermediary for

  nearly all public funds flowing to the charter school, ensuring the charter school uses the funds

  properly and follows generally accepted standards of fiscal management. Id.

         51.     Charter schools receive funding from local, state, and federal sources. Fla. Stat.

  § 1002.33(17)(b). The primary source of funding for charter schools is through the Florida

  Education Finance Program (“FEFP”). The FEFP consists of revenues generated from certain

  local taxes levied by school boards, as well as state FEFP funds appropriated by the Florida

  Legislature. Fla. Stat. §§ 1011.71, 1011.62. Charter schools receive FEFP funds based on the

  number of full-time equivalent students enrolled at the school. Fla. Stat. § 1002.33(17). This

  means that the more students that are enrolled at a school, the more funding a school will

  receive. Charter schools also receive funding from a number of other sources, including, inter

  alia, state appropriated Public Educational Capital Outlay (“PECO”) funds, discretionary local

  millage levies, and funding from federal sources. Fla. Stat. §§ 1002.33(17) and 1011.71(1),

  (2) and (9).

         52.     Defendants fraudulently deprived the Plaintiffs (and their respective students)

  of state and federal funds that they were entitled to receive. This was accomplished through a

  series of schemes and artifices, each with the common goal of fraudulently depriving victim

  charter schools of substantial sums of money and providing kickback payments to the RICO

  Defendants and others involved in the schemes (hereinafter collectively referred to as the,

  “May Enterprise Scheme”). The individual fraudulent schemes and artifices that comprise the

  May Enterprise Scheme can roughly be defined as the following, each of which is described in


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  more detail below:

                   •   Scheme 1: Fraudulent Invoicing Scheme;

                   •   Scheme 2: Fraudulent Charter School Program (“CSP”) Reimbursement

                       Scheme;

                   •   Scheme 3: Fraudulent Apex Rebate Scheme;

                   •   Scheme 4: Money Laundering Scheme;

                   •   Scheme 5: Fraudulent Broker Fees/Lease Commission Scheme;

                   •   Scheme 6: Fraudulent Student Lunch Proceeds Scheme; and

                   •   Scheme 7: Real Estate Acquisition Scheme.

       II.      The May Enterprise Perpetrated the May Enterprise Scheme Against the Plaintiff
                Charter Schools.

          53.      In 2007, May formed Newpoint Education Partners to manage charter schools

  across the State of Florida. Newpoint Education Partners served as an instrumentality of May

  and Cambridge Education Group. Through Newpoint Education Partners, May and Cambridge

  Education Group assisted charter schools in developing applications to submit to school boards

  and advise them throughout the approval process. In this regard, May filed the necessary

  paperwork to form the not for profit entities that operated the charter schools. May also played

  a key role in forming the governing boards that oversaw the operations of each school, often

  filling them with his friends or colleagues.

          54.      Each of the charter schools, under May’s direction, entered into a management

  agreement with Newpoint Education Partners. These management agreements are expansive

  in their breadth and gave Newport Education Partners control of practically every operational

  facet of the charter schools. Specifically, Newpoint Education Partners negotiated leases for

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  the schools, selected bookkeepers and other professionals for the schools, opened bank

  accounts for each school, and, relevant to this litigation, purchased equipment, education

  materials, furniture, and supplies for each school.

         55.     Newpoint Education Partners ultimately managed fourteen (14) charter schools

  across the State of Florida, including schools in Duval County, Bay County, Broward County,

  Escambia County, Hillsborough County, and Pinellas County. May was involved in all aspects

  of the development of these charter schools, from their conception, formation, during their

  operations, and, in the case of many of these schools, until they were forced to close due to the

  criminal actions of the May Enterprise.

         56.     Plaintiffs in this case are certain charter schools that individually contracted

  with Newpoint Education Partners for management and related services through various

  management agreements (collectively, the “Management Agreements”), as described below.

                •   Enterprise High School entered into a management agreement

                    with Newpoint Education Partners on or about April 5, 2011,

                    attached hereto Exhibit “3.”

                •   River City Education entered into a management agreement with

                    Newpoint Education Partners on or about July 25, 2013, attached

                    hereto as Exhibit “4.”

                •   Palm Bay Education entered into a management agreement with

                    Newpoint Education Partners on or about January 23, 2008,

                    attached hereto as Exhibit “5.”

         57.     May also contrived to take full control of each charter school’s finances. To do

  this, May did not allow the governing board members of the charter schools to have access to

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  their school’s bank accounts or to make withdrawals. This meant that the governing boards at

  each school were intentionally hamstrung in their ability to monitor the finances of their

  respective schools. The financial oversight each board exercised was generally to review

  financial statements prepared by bookkeepers that were handpicked by May. With May’s

  intentional limited oversight from these charter school governing boards, Defendants were

  generally free to undertake their fraudulent financial transactions without much scrutiny.

         58.     Newpoint Education Partners further took a management fee of 18% of

  qualified revenues that each of these charter schools brought in, a fee that is on the high end of

  what most management companies in Florida charge. Nevertheless, May was not satisfied

  charging such a high fee. May also ensured that the vendors he selected to supply the charter

  schools with furniture, education materials, supplies, and equipment were his own shell

  companies, or shell companies that his confederates and affiliated entities owned and

  controlled. At the direction of May, the charter schools, managed by Newpoint Education

  Partners, would provide hundreds of thousands of dollars per year to one or more of May’s

  controlled entities for the purpose of purchasing needed furniture, computers, supplies and

  other inventory.

         59.     When May opened the first of several charter schools in Florida, all which were

  managed by Newpoint Education Partners, he used his own company, Red Ignition, LLC, as

  the primary source from which all purchases of furniture, supplies, and equipment were made

  for the charter schools. May made massive illicit profits by purchasing merchandise from

  vendors and reselling them to Newpoint Education Partners-managed charter schools at

  substantially marked-up rates. May never disclosed this clear conflict of interest to the charter

  schools, but instead concealed and misrepresented his relationship with Red Ignition, LLC, and

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  other affiliated entities.

          60.     In almost every facet of business related to the Newpoint Education Partners-

  managed charter schools, May directed the May Enterprise to engage in conduct aimed at

  defrauding the charter schools and enriching himself and other members of the May Enterprise.

          61.     The May Enterprise Scheme involved multiple components, including, but not

  limited to, (i) the Fraudulent Invoicing Scheme; (ii) Fraudulent CSP Reimbursement Scheme;

  (iii) the Fraudulent Apex Rebate Scheme; (iv) the Money Laundering Scheme; (v) the

  Fraudulent Broker Fees/Lease Commission Scheme; (vi) the Fraudulent Student Lunch

  Proceeds Scheme; and (vii) the Real Estate Acquisition Scheme. Each of these facets of the

  May Enterprise Scheme had the common goal of defrauding Newpoint Education Partners-

  managed charter schools, including the Plaintiffs, of substantial sums of money, enriching

  Defendants and others, and concealing these activities.

          62.     The May Enterprise perpetuated the May Enterprise Scheme until many of the

  charter schools were forced to close.

      III. Members of the May Enterprise are Convicted Criminally in Connection with the
           May Enterprise Scheme.

          63.     Eventually, auditors became aware of certain irregularities between Newpoint

  Education Partners-managed charter schools. See Affidavit of Escambia County, Florida,

  auditor, David Bryant, attached hereto as Exhibit “6.” For instance, property was found at

  some Newpoint Education Partners-managed charter schools that belonged to schools in

  entirely different school districts. There were also orders placed by Newpoint Education

  Partners on behalf of charter schools that were paid for from the charter schools’ accounts, but

  never actually delivered. Many of the charter schools also had a surprising lack of furniture,


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  education materials, supplies, and equipment that did not seem to align with the levels of

  funding the schools were receiving or the monies they had paid to acquire such items.

           64.   The auditors also discovered that a substantial number of purchases from the

  Newpoint Education Partners-related charter schools were filled by only a few vendors that

  were all related to the May Enterprise. Neither May nor Kunkemoeller disclosed to the charter

  schools their relationship to the vendor entities.

           65.   Based in part on the auditors’ findings, in June 2017, May and Kunkemoeller

  were arrested for racketeering in violation of section 895.03, Florida Statutes, and for

  fraudulently obtaining property over $50,000 in value, in violation of section 817.034, Florida

  Statutes, in connection with the May Enterprise Scheme.

           66.   On May 18, 2018, Kunkemoeller was adjudicated guilty of one count of

  racketeering in violation of section 895.03, Florida Statutes, and one count of fraudulently

  obtaining property over $50,000, in violation of section 817.034, Florida Statutes. See Ex. 2.

           67.   On November 13, 2018, May was adjudicated guilty on two counts of

  racketeering in violation of section 895.03, Florida Statutes, and one count of fraudulently

  obtaining property over $50,000 in value, in violation of section 817.034, Florida Statutes. See

  Ex. 1.

           68.   The convictions of May and Kunkemoeller were directly related to the May

  Enterprise Scheme described herein.

       A. Scheme 1: Fraudulent Invoicing Scheme

           69.   From at least 2009 to 2016, the May Enterprise engaged in a systematic

  Fraudulent Invoicing Scheme perpetrated on the Plaintiffs with the goal of depriving them of

  substantial sums of money and enriching members of the May Enterprise at the expense of

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  Plaintiffs and their students.

          70.     Newpoint Education Partners quickly expanded throughout Florida.              As

  operations expanded, May approached Kunkemoeller (a longtime friend of May’s) with a plan

  to defraud Newpoint Education Partners-managed charter schools in a manner that would

  conceal May’s conflicts of interest and egregious self-dealing. In this regard, May proposed

  having Kunkemoeller utilize shell business entities to disguise the true owners’ identity (i.e.,

  the Mays and Kunkemoellers) to perpetrate a fraud upon the charter schools managed by

  Newpoint Education Partners.

          71.     Kunkemoeller agreed to be involved in this Fraudulent Invoicing Scheme.

          72.     The Fraudulent Invoicing Scheme worked as follows: When a charter school

  needed supplies, May communicated this to Kunkemoeller. Using one of their shell/conduit

  companies, Kunkemoeller purchased the supplies directly from a supplier and then resold them

  to the charter schools at rates well in excess of what Kunkemoeller paid for the supplies. On

  numerous occasions, Kunkemoeller received an order request from May on behalf of Newpoint

  Education Partners-managed charter schools, purchased the supplies from a supplier, and then

  had the supplier ship the items directly to the charter schools. May and Kunkemoeller shared

  in the significant overcharges reaped from this illicit scheme.

          73.     Notably, the supplies were neither shipped nor stored by Kunkemoeller’s shell

  companies.     Kunkemoeller’s shell companies generally assumed no risk with these

  transactions. Specifically, the charter schools made a “down payment” for the order, which

  one of Kunkemoeller’s shell companies utilized to purchase the items to then re-sell to the

  charter schools at substantially marked up rates. Further, nearly all of the suppliers would have

  sold the subject supplies directly to the charter schools themselves.

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         74.     Kunkemoeller prepared invoices for the supplies with prices marked up

  sometimes as much as 160 to 300 percent. Such invoices were sent to School Financial

  Services, the bookkeeper that was handpicked by May for each school. The ill-gotten proceeds

  were then paid to Kunkemoeller with public funds from the schools’ bank accounts. Upon

  being paid, Kunkemoeller shared approximately half of the profits with May as kickbacks. The

  staff and governing board members at each charter school never saw these invoices or were

  involved in the process of purchasing supplies, nor did May or Kunkemoeller ever disclose the

  relationship between May, Kunkemoeller, School Warehouse, and the other members of the

  May Enterprise involved in the Fraudulent Invoicing Scheme. Newpoint Education Partners

  and the May Enterprise handled or directed all aspects of the purchasing and payment process.

         75.     In furtherance of the Fraudulent Invoicing Scheme, Kunkemoeller purchased

  Red Ignition, LLC–which had no assets or liabilities–from May for $100,000. He also formed

  School Warehouse and Red Ignition, Inc., Florida business entities that would serve as the

  primary conduits for the May Enterprise’s Fraudulent Invoicing Scheme going forward. Like

  Red Ignition, LLC, these companies were mere shell companies, with no assets, liabilities, or

  employees.

         76.     On various occasions, Solo Products, Newpoint Education Partners, and

  Cambridge Education Group participated in the Fraudulent Invoicing Scheme by providing

  School Warehouse with credit or monies to purchase items that were fraudulently sold to the

  victim charter schools, including the Plaintiffs.

         77.     Because of the substantial amount of lost revenue to each charter school, they

  were often forced to operate with few supplies or classroom materials. Teachers were forced

  to teach without textbooks or use substandard computers and classroom technology. Due to

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  the Fraudulent Invoicing Scheme, the students at each of the victim charter schools were

  negatively affected in that their schools were underfunded and ill-equipped to provide the

  students with an appropriate education to which they are entitled. Due to the actions of

  Defendants, many of the charter schools were forced to close.

         78.     Specific examples of instances in which this Fraudulent Invoicing Scheme was

  perpetrated against each of the Plaintiffs are detailed below:

                                      River City Education

         79.     From at least 2013 to 2016, the May Enterprise perpetrated the Fraudulent

  Invoicing Scheme against River City Education.         Specific examples of how River City

  Education was damaged by the Fraudulent Invoice Scheme include, but are not limited to, the

  following:

                             August 2013 – September 2013 Invoices

         80.     On an invoice dated August 29, 2013, School Warehouse billed River City

  Education $55,195.00 for computer equipment as part of the Fraudulent Invoicing Scheme.

  School Warehouse purchased the computer equipment from supplier CDW-G at an actual cost

  of $33,381.38. The difference in what School Warehouse paid for the computer equipment

  and what it charged River City Education was $21,813.62, meaning that School Warehouse

  marked the prices up approximately 65.35%.

         81.     On an invoice dated September 3, 2013, School Warehouse billed River City

  Education $70,450.84 for furniture as part of the Fraudulent Invoicing Scheme. School

  Warehouse purchased the furniture from suppliers Hertz Furniture, Discount Office Furniture,

  and ParkNPool at an actual cost of $40,593.41. The difference in what School Warehouse paid

  for the furniture and what it charged River City Education was $29,857.43, meaning that

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  School Warehouse marked the prices up approximately 73.55%.

         82.    On or about January 21, 2014, River City Education paid School Warehouse

  $115,645.84 for the amounts due under the August 29, 2013 and September 3, 2013 invoices,

  which together totaled $125,645.84.     A $10,000 deposit previously paid by River City

  Education was applied to cover the remainder of the amounts due under the invoices.

                                      August 2015 Invoice

         83.    On an invoice dated August 4, 2015, School Warehouse billed River City

  Education $21,660.09 for furniture as part of the Fraudulent Invoicing Scheme. School

  Warehouse purchased the furniture from supplier Florida Office Interiors and Hertz at a cost

  of $9,327.75. The difference in what School Warehouse paid for the furniture and what it

  charged River City Education was $12,332.34, meaning that School Warehouse marked the

  prices up approximately 132.21%.

         84.    On October 19, 2015, River City Education paid School Warehouse $21,660.09

  for the amount due under the August 4, 2015 invoice.

         85.    Other examples of how River City Education was damaged by the Fraudulent

  Invoicing Scheme are detailed in the spreadsheet attached hereto as Exhibit “7.”

                                     Palm Bay Education

         86.    From at least 2010 to 2014, the May Enterprise perpetrated the Fraudulent

  Invoicing Scheme against Palm Bay Education. Specific examples of how Palm Bay Education

  was damaged by the Fraudulent Invoice Scheme include, but are not limited to, the following:

                                       June 2010 Invoice

         87.    On an invoice dated June 1, 2010, Red Ignition, LLC, billed Palm Bay

  Education $120,000 for computer equipment as part of the Fraudulent Invoicing Scheme. Red

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  Ignition, LLC, purchased the computer equipment from supplier System 76 at an actual cost of

  $46,080. The difference in what Red Ignition, LLC, paid for the computer equipment and what

  it charged Palm Bay Education was $73,920, meaning that Red Ignition, LLC, marked the

  prices up approximately 160.42%.

          88.    On or about June 23, 2010, Palm Bay Academy paid Red Ignition, LLC,

   $120,000 for the amount due under the June 1, 2010 invoice.

                                     September 2014 Invoice

         89.     On an invoice dated September 16, 2014, School Warehouse billed Palm Bay

  Education $5,419.50 for computer equipment and furniture as part of the Fraudulent Invoicing

  Scheme. School Warehouse purchased the computer equipment and furniture from suppliers

  Florida Office Interiors and CDW at an actual cost of $2,505.31. The difference in what School

  Warehouse paid for the computer equipment and what it charged Palm Bay Education was

  $2,914.19, meaning that School Warehouse marked the prices up approximately 116.32%.

         90.     On or about November 21, 2014, Palm Bay Education paid School Warehouse

  $5,419.50 for the September 16, 2014 invoice.

         91.     Exhibit 7 delineates other examples of how Palm Bay Education was damaged

  by the Fraudulent Invoicing Scheme.

                                     Enterprise High School

         92.     From at least 2013 to 2015, the May Enterprise perpetrated the Fraudulent

  Invoicing Scheme against Enterprise High School. Specific examples of how Enterprise High

  School was damaged by the Fraudulent Invoicing Scheme include, but are not limited to, the

  following:



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                             August 2013–September 2013 Invoices

         93.    On an invoice dated August 29, 2013, School Warehouse billed Enterprise High

  School $27,930.00 for computer equipment as part of the Fraudulent Invoicing Scheme.

  School Warehouse purchased the computer equipment from supplier CDW at an actual cost of

  $18,099.31. The difference in what School Warehouse paid for the computer equipment and

  what it charged Enterprise High School was $9,830.69, meaning that School Warehouse

  marked the prices up approximately 54.32%.

         94.    On an invoice dated September 3, 2013, School Warehouse billed Enterprise

  High School $16,741.55 for furniture as part of the Fraudulent Invoicing Scheme. School

  Warehouse purchased the furniture from suppliers Hertz and Discount Office Items at an actual

  cost of $9,926.38. The difference in what School Warehouse paid for the furniture and what it

  charged Enterprise High School was $6,815.17, meaning that School Warehouse marked the

  prices up approximately 68.66%.

         95.    On or about January 13, 2014, Enterprise High School paid School Warehouse

  $31,671.55 for the August 29, 2013 and September 3, 2013 invoices, which together totaled

  $44,671.55.   A deposit of $13,000 Enterprise High School previously paid to School

  Warehouse was applied to cover the remainder owed.

                                    September 2014 Invoices

         96.    On an invoice dated September 16, 2014, School Warehouse billed Enterprise

  High School $33,147.93 for computer equipment and furniture as part of the Fraudulent

  Invoicing Scheme. School Warehouse purchased the computer equipment and furniture from

  suppliers Florida Office Interiors, CDW, and Stampede Presentation Products at an actual cost

  of $17,042.95. The difference in what School Warehouse paid for the furniture and what it

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  charged Enterprise High School was $16,104.98, meaning that School Warehouse marked the

  prices up approximately 94.50%.

         97.     On an invoice dated September 17, 2014, School Warehouse billed Enterprise

  High School $17,696.33 for computer equipment and furniture as part of the Fraudulent

  Invoicing Scheme. School Warehouse purchased the computer equipment and furniture from

  suppliers CDW-G and Hertz at an actual cost of $13,607.52. The difference in what School

  Warehouse paid for the computer equipment and furniture and what it charged Enterprise High

  School was $4,088.81, meaning that School Warehouse marked the prices up approximately

  30.05%.

         98.     On or about November 12, 2014, Enterprise High School remitted payment to

  School Warehouse in the amount of $50,844.26 for the September 16, 2014 and September 17,

  2014 invoices, which together totaled $50,844.26.

         99.     Exhibit 7 delineates other examples of how Enterprise High School was

  damaged by the Fraudulent Invoicing Scheme.

     B. Scheme 2: Fraudulent Charter School Program Grant Scheme

         100.    The May Enterprise also engaged in a fraudulent scheme to defraud Plaintiffs

  of substantial sums of money by submitting fraudulent invoices for reimbursement from the

  Charter Schools Program grant that River City Education and Palm Bay Education had been

  awarded.

         101.    The federal government has established the Charter Schools Program (“CSP”),

  which provides grants to high-quality charter schools that can be used during the planning

  phase of the charter school and the roughly three (3) years following the opening of the charter

  school. There is a competitive selection process that charter schools must undergo if they wish

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  to receive CSP grant funds. Once awarded a CSP grant, charter schools may only use the funds

  on certain expenditures that are generally related to the operational costs of starting up the

  charter school and implementing the charter school’s program during the early start-up years.

         102.    CSP grant funds are dispersed on a reimbursement basis. Charter schools

  awarded a CSP grant must spend money on qualifying goods or service up front and then

  submit invoices to the Florida Department of Education for reimbursement.

         103.    River City Education was awarded a CSP grant for San Jose Academy and San

  Jose Preparatory High School.

         104.    Palm Bay Education was awarded a CSP grant for Palm Bay Academy and Palm

  Bay Preparatory High School.

         105.    After River City Education and Palm Bay Education paid the amounts due under

  the fraudulent invoices received pursuant to the Fraudulent Invoicing Scheme, Newpoint

  Education Partners, at the direction of May, submitted the fraudulent invoices from School

  Warehouse to the Florida Department of Education for reimbursement from CSP grant funds.

  In the case of Palm Bay Education, this included fraudulent invoices from Red Ignition, LLC,

  in addition to the fraudulent invoices from School Warehouse.

         106.    In this way, River City Education and Palm Bay Education have been damaged

  twice over from the Fraudulent Invoicing Scheme. On the one hand, River City Education and

  Palm Bay Education were damaged when they overpaid School Warehouse and Red Ignition,

  LLC, for the fraudulently marked up amounts owing on each invoice. They were then damaged

  a second time when these invoices were submitted to the Florida Department of Education for

  reimbursement from CSP grant funds because, for each fraudulent invoice submitted by the

  May Enterprise to the Florida Department of Education, River City Education and Palm Bay

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  Education have an obligation to repay all amounts in excess of the actual cost of the goods

  purchased.

         107.   The Fraudulent Invoicing Scheme further precluded River City Education and

  Palm Bay Education from using the CSP grant funds for the benefit of their students.

     C. Scheme 3: Fraudulent Apex Rebate Scheme

         108.   The May Enterprise also engaged in a fraudulent scheme to defraud the

  Plaintiffs and provide Newpoint Education Partners and the other RICO Defendants with

  kickbacks resulting from the purchase of digital curriculum from Apex Learning.

         109.   Specifically, on or about May 28, 2009, Newpoint Education Partners, under

  the direction of May, entered into a Client Agreement for Digital Curriculum Solutions

  agreement with Apex Learning (“Apex Agreement”) with a term ending on July 31, 2010, a

  true and correct copy of which is attached as Exhibit “8.” Under the terms of the Apex

  Agreement, Newpoint Education Partners agreed to purchase digital classroom curriculum

  from Apex Learning for use by students at the charter schools it managed. The Apex

  Agreement was renewed each year by amendment from August 1, 2010 until July 31, 2014.

         110.   Effective August 1, 2014, the parties entered into a new Client Agreement

  (“Second Apex Agreement”). Exhibit “9.” The Second Apex Agreement was renewed each

  year by amendment until July 31, 2017. While the Second Apex Agreement and first

  amendment to the Second Apex Agreement were both executed by Marcus May on behalf of

  Newpoint Education Partners, the second amendment to the Second Apex Agreement that

  renewed it for the period from August 1, 2016 to July 31, 2017 was executed by Marcus May

  as Manager Member of Cambridge Education Group. See Exhibit “10.”



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         111.    On May 24, 2012, May sent a letter to Apex Learning with a proposal that

  Newpoint Education Partners would use Apex Learning’s electronic curriculum for all the high

  schools it managed. In exchange, May proposed that Newpoint Education Partners, starting

  with the 2012-2013 school year, receive a “rebate” (i.e., a kickback) on each license purchased

  by a Newpoint Education Partners-managed school. The Apex Agreement was amended on or

  about July 20, 2012 to include language about the rebates. See Exhibit “11.”

         112.    In an interview with the Federal Bureau of Investigation, Stacy Pearson, the

  Account Manager at Apex Learning who was May’s point of contact, acknowledged that such

  contract terms were unusual and that he in fact had never seen similar language in any other

  Apex Learning agreement. See Exhibit “12.”

         113.    Under the Fraudulent Apex Rebate Scheme, Newpoint Education Partners and

  Cambridge Education Group-affiliated charter schools paid Apex Learning directly for licenses

  to use Apex Learning’s digital curriculum. Apex Learning then sent Newpoint Education

  Partners and later Rearden Capital––both entities owned and/or controlled by the May

  Enterprise––substantial rebates that often represented almost half of the amount paid to Apex

  Learning by Newpoint Education Partners and Cambridge Education Group-managed charter

  schools.

         114.    Apex Learning accepted payment for the licenses directly from the charter

  schools themselves, who paid for the licenses using public funds. At May’s direction, Apex

  Learning sent Newpoint Education Partners four (4) “rebate” checks from January 21, 2013

  until July 10, 2014 ranging from $44,062.50 to as much as $56,250.00. May deposited these

  funds into the bank account of Newpoint Enterprises, LLC, a company owned and controlled

  by May. Beginning on or about December 10, 2014, Apex Learning began sending rebate

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  checks to Rearden Capital at the direction of May.

         115.    Neither Newpoint Enterprises, LLC, nor Rearden Capital were parties to the

  contract(s) between Newpoint Education Partners and Apex Learning.            Apex Learning

  continued to make rebate payments to Rearden Capital pursuant to the Fraudulent Apex Rebate

  Scheme until at least November 22, 2016.

         116.    As described above, charter schools are public schools funded through state and

  federal tax dollars. May directed Apex Learning to perpetuate this fraudulent scheme by

  sending substantial portions of these payments to Newpoint Education Partners or Rearden

  Capital as fraudulent kickbacks disguised as “rebates.”

         117.    Plaintiffs in this case were each harmed by the Fraudulent Apex Rebate Scheme

  perpetuated by May, Newpoint Education Partners, Cambridge Education Group, and Rearden

  Capital in the following ways:

                                     River City Education

         118.    During the 2013-2014 school year, River City Education paid Apex Learning

  $26,494.07. The total payments to Apex Learning from Newpoint Education Partners and

  Cambridge Education Group schools was $315,000. That year, Apex Learning paid Newpoint

  Education Partners $112,500.00 in fraudulent rebates. The amount of the fraudulent rebates

  proportionally attributable to River City Education is approximately $9,462.17.

         119.    During the 2014-2015 school year, River City Education paid Apex Learning

  $20,312.40. The total payments to Apex Learning from Newpoint Education Partners and

  Cambridge Education Group schools was $456,250. That year, Apex Learning paid Rearden

  Capital $217,000.00 in fraudulent rebates. The amount of the fraudulent rebates proportionally

  attributable to River City Education is approximately $9,660.91.

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         120.   During the 2015-2016 school year, River City Education paid Apex Learning

  $9,366.68. The total payments to Apex Learning from Newpoint Education Partners and

  Cambridge Education Group schools was $560,500. That year, Apex Learning paid Rearden

  Capital $279,000 in fraudulent rebates. The amount of the fraudulent rebates proportionally

  attributable to River City Education is approximately $4,662.45.

                                     Palm Bay Education

         121.   During the 2013-2014 school year, Palm Bay Education paid Apex Learning

  $7,019.50. The total payments to Apex Learning from Newpoint Education Partners and

  Cambridge Education Group schools was $315,000. That year, Apex Learning paid Newpoint

  Education Partners $112,500 in fraudulent rebates. The amount of the fraudulent rebates

  proportionally attributable to Palm Bay Education is approximately $2,506.96.

         122.   During the 2014-2015 school year, Palm Bay Education paid Apex Learning

  $15,624.80. The total payments to Apex Learning from Newpoint Education Partners and

  Cambridge Education Group schools was $456,250. That year, Apex Learning paid Rearden

  Capital $217,000 in fraudulent rebates. The amount of the fraudulent rebates proportionally

  attributable to Palm Bay Education is approximately $7,431.41.

         123.   During the 2015-2016 school year, Palm Bay Education paid Apex Learning

  $9,366.68. The total payments to Apex Learning from Newpoint Education Partners and

  Cambridge Education Group schools was $560,500. That year, Apex Learning paid Rearden

  Capital $279,000 in fraudulent rebates. The amount of the fraudulent rebates proportionally

  attributable to Palm Bay Education is approximately $4,662.45.




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                                    Enterprise High School

         124.   During the 2012-2013 school year, Enterprise High School paid Apex Learning

  $104,261.25. The total payments to Apex Learning from Newpoint Education Partners and

  Cambridge Education Group schools was $246,750. That year, Apex Learning paid Newpoint

  Education Partners $88,125 in fraudulent rebates. The amount of the fraudulent rebates

  proportionally attributable to Enterprise High School is approximately $37,236.16.

         125.   During the 2013-2014 school year, Enterprise High School paid Apex Learning

  $91,204.42. The total payments to Apex Learning from Newpoint Education Partners and

  Cambridge Education Group schools was $315,000. That year, Apex Learning paid Newpoint

  Education Partners $112,500 in fraudulent rebates. The amount of the fraudulent rebates

  proportionally attributable to Enterprise High School is approximately $32,573.01.

         126.   During the 2014-2015 school year, Enterprise High School paid Apex Learning

  $106,770.80. The total payments to Apex Learning from Newpoint Education Partners and

  Cambridge Education Group schools was $456,250.00. That year, Apex Learning paid

  Rearden Capital $217,000.00 in fraudulent rebates. The amount of the fraudulent rebates

  proportionally attributable to Enterprise High School is approximately $50,781.95.

         127.   During the 2015-2016 school year, Enterprise High School paid Apex Learning

  $107,634.82. The total payments to Apex Learning from Newpoint Education Partners and

  Cambridge Education Group schools was $560,500.00. That year, Apex Learning paid

  Rearden Capital $279,000.00 in rebates. The amount of the rebates proportionally attributable

  to Enterprise High School is approximately $52,577.37.




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     D. Scheme 4: Money Laundering Scheme

         128.      The May Enterprise sought to further conceal the May Enterprise Scheme by

  laundering the fraudulently obtained proceeds through multiple business entities and passing

  the money through countless bank accounts to make it harder to trace (the “Money Laundering

  Scheme”).

         129.      Through the Money Laundering Scheme, each of the Defendants engaged in

  schemes and artifices with the common goal of concealing or disguising the nature, location,

  source, ownership, or control of proceeds derived from the May Enterprise’s racketeering

  efforts. The kickbacks were often disguised as commissions or consulting fees for real estate

  investments and were paid to May, Mary May, and the Kunkemoellers, either directly or

  through one of their controlled entities such as Solo Products, Direct Store Delivery, Rearden

  Capital, and the Affiliate Defendants.

         130.      Specific examples of instances in which Defendants engaged in the Money

  Laundering Scheme, include, but are not limited to, the following:

                a. On or about March 23, 2010, Red Ignition, LLC, transferred to Marcus May

                   $157,500 in illicit proceeds from the Fraudulent Invoicing Scheme.

                b. On or about March 4, 2014, School Warehouse transferred to Fifth Third Bank

                   $175,000 in illicit proceeds from the Fraudulent Invoicing Scheme to pay

                   Kunkemoeller’s mortgage on his home.

                c. On or about April 25, 2014, School Warehouse transferred to Direct Store

                   Delivery $200,000 in illicit proceeds derived from the Fraudulent Invoicing

                   Scheme.   Subsequently, on or about May 2, 2014, Direct Store Delivery

                   transferred to Marcus May a portion of the funds totaling $175,000. The

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                   remaining $25,000 was transferred to Crossburn Properties, LLC, a company

                   owned and controlled by May, Mary May and/or May and Kunkemoeller.

                d. On or about February 5, 2015, School Warehouse transferred to Rearden Capital

                   $58,000 in illicit proceeds derived from the Fraudulent Invoicing Scheme.

                e. On or about March 4, 2015, School Warehouse transferred to Direct Store

                   Delivery $125,000 in illicit proceeds derived from the Fraudulent Invoicing

                   Scheme. On or about March 5, 2015, this money was then used to purchase real

                   property.

                f. On or about May 16, 2015, School Warehouse transferred to Solo Products

                   $79,041.98 in illicit proceeds from the Fraudulent Invoicing Scheme.

                g. On or about June 23, 2015, School Warehouse transferred to Solo Products

                   $54,211.31 in illicit proceeds from the Fraudulent Invoicing Scheme.

                h. On or about August 28, 2015, School Warehouse transferred to Solo Products

                   $100,000 in illicit proceeds from the Fraudulent Invoicing Scheme.

                i. On or about June 19, 2015, School Warehouse transferred to Rearden Capital

                   $100,000 in illicit proceeds from the Fraudulent Invoicing Scheme.

                j. On or about July 1, 2016, School Warehouse transferred to Kunkemoeller

                   $220,000 in illicit proceeds derived from the Fraudulent Invoicing Scheme.

         131.      Each transaction described above was designed to conceal or disguise the nature

  and source of the ill-gotten proceeds derived from the May Enterprise’s racketeering efforts.




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  E. Scheme 5: Fraudulent Broker Fees/Lease Fees Scheme

           132.   May, on behalf of Newpoint Education Partners, also orchestrated a fraudulent

  kickback scheme involving real estate broker fees and lease fees (“Fraudulent Broker

  Fees/Lease Fees Scheme”). Plaintiffs Enterprise High School and River City Education were

  directly harmed by the Fraudulent Broker Fees/Lease Fees Scheme, as described more fully

  below:

                                     Enterprise High School

           133.   On May 19, 2011, Enterprise High School entered into a lease (“Enterprise

  Lease”) with KOS Corp, a Florida corporation, to lease certain property located at 1515 June

  Avenue, Panama City, Florida 32405. Exhibit ‘13.” Newpoint Education Partners was a party

  to the Enterprise Lease as well, signing as a guarantor for Enterprise High School. The

  Enterprise Lease contained a provision whereby Newpoint Education Partners would receive

  a “consulting fee” equal to 3% of the base rents for the first two years of the Enterprise Lease.

           134.   On August 31, 2011, National Properties Trust, Inc., a related entity to KOS

  Corp., sent Newpoint Enterprises, LLC (a May controlled entity), a check in the amount of

  $12,510.09 as payment for the “consulting fee” due under the Enterprise Lease. On December

  9, 2013, National Properties Trust, Inc., sent Newpoint Enterprises LLC a check in the amount

  of $37,675.84 as payment for the “consulting fee” due under the Enterprise Lease.

           135.   Further, upon information and belief, May demanded that National Properties

  Trust write a check to his wife, Mary May, in the approximate amount of $60,000 before he

  would finalize the lease agreement.




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                                      River City Education

         136.    Sometime around December 2012, Marcus May, on behalf of Newpoint

  Education Partners, entered into a Broker Agreement with Michael Glaser, a real estate broker

  licensed to practice in the State of Florida. Exhibit “14.”

         137.    Under the terms of the Broker Agreement, Newpoint Education Partners agreed

  to use Mr. Glaser as its exclusive broker for real estate transactions involving Newpoint

  Education Partners–managed charter schools.        In return, Mr. Glaser would share with

  Newpoint Education Partners 20% of the commissions that he received.

         138.    This Broker Agreement was illegal, per section 475.25, Florida Statutes, as real

  estate brokers are forbidden from sharing commissions with unlicensed persons. Further, this

  presented an actual and apparent conflict of interest, as Newpoint Education Partners was the

  management company of the charter schools for which Mr. Glaser was securing real property.

         139.    Newpoint Education Partners and Mr. Glaser remained bound to the Broker

  Agreement until it was terminated on October 20, 2015 by way of a Termination and Release

  Agreement signed by the parties.

         140.    Mr. Glaser acted as a broker for River City Education, and helped it secure the

  property upon which San Jose Academy and San Jose Preparatory High School are both

  currently co-located. San Jose Academy and San Jose High School paid Mr. Glaser a brokerage

  fee of approximately $51,250.00 for his services. Subsequently, Mr. Glaser wrote a check to

  Newpoint Education Partners, whereby Newpoint Education Partners received a $10,250.00

  kickback per the illegal Broker Agreement.




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     F. Scheme 6: Fraudulent Student Lunch Proceeds Scheme

         141.    May organized a scheme to defraud Plaintiff Palm Bay Education of certain

  monies generated through student lunches and snacks.

         142.    Palm Bay Education ran a food counter at Palm Bay Academy and Palm Bay

  Preparatory High School where students and staff could purchase snacks and other food items.

         143.    The food counter was run by Palm Bay Education employees and all inventory

  was purchased with Palm Bay Education’s funds.

         144.    To facilitate this scheme, May would periodically visit the food counter, take

  the money that had been raised through the sale of the food counter’s inventory to customers,

  and deposit that money in a bank accountant unconnected to Palm Bay Education to which

  only the May Enterprise had access and control.

         145.    Palm Bay Education was thereby deprived of and never realized the benefit of

  these funds, which were substantial.

     G. Scheme 7: Real Estate Acquisition Scheme

         146.    The Mays, Kunkemoellers, and others such as the Affiliate Defendants used the

  illicit proceeds from the May Enterprise Scheme to acquire title or interests in the following

  real properties located in Florida and Ohio, which includes homestead properties, that they

  often acquired in the name(s) of one or more of their controlled entities as a means of

  obfuscating the true owners of the properties.

         Newpoint Enterprises, LLC

         147.    Bank records show that from 2012 through 2016, Newpoint Enterprises, LLC,

  a company owned and controlled by May through its manager, Newpoint Education Partners,

  LLC, received more than $400,000 in relation to the May Enterprise Scheme.

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         148.   Many of these funds were utilized by Newpoint Enterprises, LLC, to purchase

  and to make mortgage payments on the following real properties:

                 i.     2426 Vaccaro Dr., Sarasota, FL 34231

         149.   On July 25, 2013, Apex Learning, Inc., paid Newpoint Enterprises, LLC, a

  “rebate” in the amount of $44,062.50. On November 20, 2013, May caused Newpoint

  Enterprises, LLC, to transfer a portion of the $44,062.50 (i.e., $26,778.28) to May,

  individually. That same day May transferred the $26,778.28 to Universal Land Title as an

  escrow payment. Two days later, on November 22, 2013, Universal Land Title utilized the

  $26,778.28 escrow payment as part of the purchase price for the property, which was titled to

  Marcus May and Mary May.

                ii.     4720 Roosevelt Blvd., Middletown, OH 45044

         150.   On December 21, 2012, Direct Store Delivery, made a “vendor payment” in the

  amount of $50,000 to Newpoint Enterprises, LLC. On March 18, 2013, Newpoint Enterprises,

  LLC, transferred $9,322.34 to AmeriTitle as an escrow payment.          On June 14, 2013,

  AmeriTitle utilized the $9,322.34 escrow payment as part of the purchase price for the

  property, which was titled to Roosevelt Properties, LLC (a company owned and controlled by

  May and Mary May). On May 12, 2013, Newpoint Enterprises, LLC, wrote a check to

  AmeriTitle in the amount of $100,386.30, which was also as part of the purchase price for the

  property.

                iii.    13111 Crossburn Ave., Cleveland, OH 44135

         151.   On March 20, 2013, Solo Products, Inc., made a “vendor payment” in the

  amount of $100,000 to Newpoint Enterprises, LLC. On June 11, 2013, Newpoint Enterprises,

  LLC, transferred $69,763.61 to First American Title as an escrow payment. On June 12, 2013,

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  First American Title utilized the $69,763.61 escrow payment as part of the purchase price for

  the property, which was titled to Crossburn Properties, LLC (a company which is owned and

  controlled by May, Mary May, and/or Kunkemoeller).

                 iv.     1133 Meadow Spur, Akron, OH 44333

         152.    Upon information and belief, proceeds from the May Enterprise Scheme were

  used to purchase or otherwise acquire an interest in the property located at 1133 Meadow Spur,

  Akron, OH 44333.

         Leekca Properties, LLC

         153.    Bank records show that from 2010 through 2014, Leekca Properties, LLC, a

  company owned and controlled by May and Mary May, received more than $600,000 in

  relation to the May Enterprise Scheme and funds from the sale of properties owned by

  Roosevelt Properties, LLC, and Crossburn Properties, LLC.

         154.    Many of these funds were utilized by Leekca Properties, LLC, a company

  owned and controlled by May and/or Mary May, to purchase and to make mortgage payments

  on the following real properties:

                 i.      7656 Uliva Way, Sarasota, FL 34238

         155.    On September 28, 2010, Newpoint Education Partners, LLC, paid Leekca

  Properties, LLC, a purported lease payment in the amount of $3,000. On October 29, 2010,

  Leekca Properties, LLC, made, on behalf of May and Mary May, a mortgage payment in the

  amount of $1,875.88 to Chase Home Finance in relation to the property. This payment is one

  of many mortgage payments made by Leekca Properties, LLC, to Chase Home Finance in

  relation to the property.



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                ii.     2426 Vaccaro Dr., Sarasota, FL 34231

         156.   On September 20, 2013, Newpoint Education Partners, LLC, paid Leekca

  Properties, LLC, a purported lease payment in the amount of $3,500. On November 20, 2013,

  May caused Leekca Properties, LLC, to transfer the $3,500 lease payment to May, individually.

  That same day May transferred the $3,500 to Universal Land Title as an escrow payment. Two

  days later, on November 22, 2013, Universal Land Title utilized the $3,500 escrow payment

  as part of the purchase price for the property, which was titled to Marcus May and Mary May.

                iii.    13334 Torresina Terrace, Brandenton, FL 34211

         157.   On August 16, 2013, Newpoint Education Partners, LLC, paid Leekca

  Properties, LLC, a purported lease payment in the amount of $3,500. On September 27, 2013,

  Leekca Properties, LLC, made, on behalf of May and Mary May, a mortgage payment in the

  amount of $1,220.20 to Flagstar Bank in relation to the property. This payment is one of many

  mortgage payments made by Leekca Properties, LLC, to Flagstar Bank in relation to 13334

  Torresina Terrace, Brandenton, FL 34211.

                iv.     275 West Market Street, Akron, OH 44313

         158.   On December 21, 2012, Direct Store Delivery made a “vendor payment” in the

  amount of $110,000 to Surety Title as an escrow payment. That same day Surety Title utilized

  the $110,000 escrow payment as part of the purchase price for the property, which was titled

  to Leekca Properties, LLC (a company owned and controlled by May and Mary).

         Rearden Capital, LLC

         159.   Bank records show that from 2014 through 2016, Rearden Capital, a company

  owned and controlled by May and Mary, received more than $600,000 in relation to the May

  Enterprise Scheme.

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         160.    Many of these funds were utilized by Reardon Capital, to purchase and to make

  mortgage payments on the following real properties:

                 i.     251 Schocalog Road, Akron, OH 44313

         161.    On March 10, 2016, Apex Learning paid Rearden Capital a “rebate” in the

  amount of $139,500. On March 18, 2016, May caused Rearden Capital to transfer a portion of

  the $139,500 ($92,761.81) to Peoples’ Bank as an escrow payment. The next day, on June 1,

  2016, Peoples’ Bank utilized the $92,761.81 escrow payment as part of the purchase price for

  the property, which was titled to Rearden Capital a company owned and controlled by May

  and Mary.

                 ii.    4855-4859 Main Street, Akron, OH 44319

         162.    On December 10, 2014, Apex Learning paid Rearden Capital a “rebate” in the

  amount of $54,250. On February 26, 2015, May caused Rearden Capital to transfer a portion

  of the $54,250 ($52,891.73) to Main Street Properties, LLC, a company which, upon

  information and belief, is owned and controlled by May. That same day May caused Main

  Street Properties, LLC, to transfer the $52,891.73 to First American Title as an escrow

  payment. The same day First American Title utilized the $54,250 escrow payment as part of

  the purchase price of the property, which was titled to Main Street Properties, LLC.

                 iii.   5806 Broadway Ave., Cleveland, OH 44127

         163.    On February 5, 2015, School Warehouse made a “vendor payment” in the

  amount of $58,000 to Reardon Capital. On April 13, 2015, May caused Rearden Capital to

  transfer a portion of the $58,000 (i.e., $10,025.99) to First American Title as an escrow

  payment. Two days later First American Title utilized the $10,025.99 escrow payment as part

  of the purchase price of the property, which was titled to 5806 Broadway Properties, LLC (a

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  company owned and controlled by May and Mary).

                iv.     481 North Cleveland Massillon Road, Akron, OH 44333

         164.   On June 19, 2015, School Warehouse, Inc., made a “vendor payment” in the

  amount of $100,000 to Reardon Capital. On August 5, 2015, May caused Rearden Capital to

  transfer a portion of the $100,000 ($41,135.16) to First American Title as an escrow payment.

  Two days later First American Title utilized the $41,135.16 escrow payment as part of the

  purchase price of the property, which was titled to Blue Victorian Property, LLC (a company

  owned and controlled by May and Mary).

                v.      4877 Pearl Road, Cleveland, OH 44109

         165.   On July 27, 2015, Apex Learning, Inc., paid Reardon Capital a “rebate” in the

  amount of $54,250. On August 20, 2015, May caused Reardon Capital to transfer a portion of

  the $54,250 ($27,444.38) to 4887 Pearl Property, LLC, a company owned and controlled by

  May. The next day May caused 4887 Pearl Property, LLC, to transfer the $27,444.38 to Liberty

  Bank as a mortgage payment on the property.

                vi.     1500-1530 Superior Ave., NE, Canton, OH 44705

         166.   On April 29, 2016, Apex Learning paid Reardon Capital a “rebate” in the

  amount of $69,750. On June 30, 2016, May caused Reardon Capital to transfer the $69,750 to

  First American Title as an escrow payment. The same day First American Title utilized the

  $69,750 escrow payment as part of the purchase price for the property, which was titled to

  Reardon Capital.

         School Warehouse/Kunkemoeller

         167.   On or about December 12, 2015, the May Enterprise transferred $140,000 from

  an account owned by School Warehouse to Market Canton, LLC (a company which, based

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  upon information and belief, is owned and controlled by May and/or Mary May and

  Kunkemoeller).

                i      575 Delaware Ave., Akron, Ohio 44303

         168.   Upon information and belief, a portion of the $140,000 was used to acquire title

  to 575 Delaware Ave., Akron, Ohio 44303, in the name of Market Canton, LLC.

                ii.     174 Treviso Ct., North Venice, FL 34275

         169.   Bank records reveal that, on or about March 20, 2014, School Warehouse paid

  $175,000 toward the mortgage on the Kunkemoellers’ personal residence, located at 174

  Treviso Ct., North Venice, FL 34275.

                iii.    708 South Street, Key West, Florida 33040

         170.   Upon information and belief, a portion of the funds transferred from School

  Warehouse to Solo Products was used to pay toward the mortgage of the Kunkemoellers’ rental

  property located at 708 South Street, Key West, FL 33040.

        Kunkemoeller Trust

         171.   Upon information and belief, the Kunkemoeller Trust was unjustly enriched by

  the Money Laundering Scheme.

                 i.     793 Watch Point Drive, Cincinnati, Ohio 45230

         172.    On or about July 7, 2017, the real property located at 793 Watch Point Drive,

  Cincinnati, Ohio, was transferred by Susan Kunkemoeller to the Kunkemoeller Trust for little

  or no consideration in furtherance of the May Enterprise Scheme to impede the victims of the

  May Enterprise from recovering proceeds of the fraud.




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     H. Sham Divorce

         173.    In an effort to further conceal and impede the ability of victims of the May

  Enterprise Scheme to recover funds from which they were defrauded, May and his now former

  wife, Mary May, agreed to a sham divorce.

         174.    For instance, May was arrested on June 28, 2017 by law enforcement officers

  in Pensacola, Florida. Less than a month later, on July 13, 2017, May and Mary May executed

  a Marital Settlement Agreement through which Mary May received ill-gotten cash and other

  property that was acquired through the May Enterprise Scheme. A true and correct copy of the

  Marital Settlement Agreement is attached here to as Exhibit “15.”

         175.    The Marital Settlement Agreement also resulted in Mary May gaining an

  ownership interest in multiple business entities May utilized throughout his schemes and which

  held or still hold real property purchased with ill-gotten proceed from the May Enterprise

  Scheme, including, but not limited to the follow:

                     •   Crossburn Properties, LLC;

                     •   4877 Pearl Property, Inc.;

                     •   5806 Broadway Properties, LLC;

                     •   840 W State St., LLC;

                     •   Roosevelt Properties, LLC;

                     •   Gulfstream, LLC; and

                     •   Leekca Properties, LLC

         176.    May and Mary May had no intention of ending their relationship when they

  executed the Marital Settlement Agreement. Rather, their purpose in divorcing one another

  was to protect the assets they acquired through the May Enterprise Scheme by having such
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  assets pass to Mary May through a purported legitimate divorce proceeding.

                            INTRODUCTION TO RICO COUNTS

         177.    The RICO Defendants in this case have committed violations of the federal

  Racketeer Influenced and Corrupt Organization Act (“RICO”), 18 U.S.C. § 1961, et seq, and

  Florida’s Civil Remedies for Criminal Practices Act (“Florida RICO”), section 772.101,

  Florida Statutes, et seq. The Florida RICO statutes were patterned on the federal RICO statutes;

  thus, courts look to case law interpreting the federal RICO statutes in construing Florida RICO.

  Spadaro v. City of Miramar, 855 F. Supp. 2d 1317, 1349 (Fla. S.D. 2012). As such, the analysis

  will primarily be the same for both the RICO and Florida RICO counts alleged below.

                                            Enterprise

         178.    The RICO Defendants constitute an “association-in-fact” enterprise under

  RICO, 18 U.S.C. § 1961(4), and Florida RICO, section 772.102(3), Florida Statutes, because

  they are a group of individuals and entities associated in fact through their operation and

  management of the May Enterprise. These individuals and entities had the common purpose

  of defrauding the Plaintiffs of substantial sums of money through the May Enterprise Scheme,

  enriching members of the May Enterprise and concealing these activities. The May Enterprise

  had longevity sufficient to permit the RICO Defendants to continue to pursue the May

  Enterprise’s purposes over the course of several years from at least 2009 to 2016 (and in many

  respects continuing to the present).

         179.    May was the principal architect of the May Enterprise. Through agreements

  with each of the other RICO Defendants, May orchestrated multiple schemes with the common

  goal of defrauding the Plaintiffs of substantial sums of money, while May and other RICO


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  Defendants received kickbacks. May directed and controlled Newpoint Education Partners,

  Cambridge Education Group, Rearden Capital, and other business entities used to perpetrate

  this fraud upon Plaintiffs. May concealed and misrepresented to the Plaintiffs his relationship

  with the other RICO Defendants, the Affiliate Defendants, and other parties involved in the

  May Enterprise Scheme.

         180.    Mary May is a key member of the May Enterprise. Mary May agreed to and

  did conduct and participate in the conduct of the May Enterprise’s affairs through a pattern of

  racketeering activity in furtherance of the May Enterprise Scheme. Mary May, along with her

  husband, May, directed and controlled the Affiliate Defendants, and other business entities

  used to perpetrate this fraud upon the Plaintiffs. Her activities were aimed at intentionally

  defrauding the Plaintiffs of substantial sums of money, enriching the RICO Defendants and

  others that may yet be unidentified, and concealing these activities

         181.    Kunkemoeller agreed with May to perpetrate, inter alia, the Fraudulent

  Invoicing Scheme, Money Laundering Scheme, and Real Estate Acquisition Scheme against

  the Plaintiffs. Specifically, Kunkemoeller founded, owned, assisted, and/or directed other

  RICO Defendants in carrying out the Fraudulent Invoicing Scheme. Kunkemoeller also

  participated in the Money Laundering Scheme by laundering proceeds derived from the

  Fraudulent Invoicing Scheme through his own business entities and receiving laundered funds

  from other entities associated with the May Enterprise. Kunkemoeller also used fraudulent

  proceeds to invest in real property through the Real Estate Acquisition Scheme. Kunkemoeller

  concealed and misrepresented to the Plaintiffs his relationship with the other RICO Defendants,

  the Affiliate Defendants, and other parties involved in the May Enterprise Scheme.



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         182.    During all relevant times, Newpoint Education Partners was directed and

  controlled by May. Newpoint Education Partners contracted with the various Plaintiffs to

  provide management services. In so doing, Newpoint Education Partners, led by May, had

  direct control over Plaintiffs’ finances and accounting books. Newpoint Education Partners

  used its control and power over Plaintiffs to have Plaintiffs enter into various agreements or

  business dealings with RICO Defendants and other parties in order to perpetrate fraud against

  them. Newpoint Education Partners concealed and misrepresented to Plaintiffs its relationship

  with the other RICO Defendants, the Affiliate Defendants, and other parties involved in the

  May Enterprise Scheme. Newpoint Education Partners participated directly or indirectly in

  each of the component schemes making up the May Enterprise Scheme.

         183.    During all relevant times, Cambridge Education Group was directed and

  controlled by May. Cambridge Education Group used Newpoint Education Partners as an

  instrumentality to contract with the various Plaintiffs to provide management services and

  assume control of the Plaintiffs’ finances. Cambridge also participated directly in the Money

  Laundering Scheme and Fraudulent Apex Rebate Scheme.

         184.    During all relevant times, School Warehouse was directed and controlled by

  Kunkemoeller. Beginning around 2011, School Warehouse became the primary entity used to

  perpetrate the Fraudulent Invoicing Scheme against the Plaintiffs. School Warehouse also

  participated in the Money Laundering Scheme by transferring proceeds from the Fraudulent

  Invoicing Scheme to other entities or individuals associated with the May Enterprise.

         185.    During all relevant times, Red Ignition, LLC, was directed and controlled by

  May. From approximately 2009 to 2011, Red Ignition, LLC, was the primary entity used to

  perpetrate the Fraudulent Invoicing Scheme.

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         186.    During all relevant times, Rearden Capital was directed and controlled by May

  and/or Mary May. Rearden Capital participated in the Fraudulent Apex Rebate Scheme by

  accepting fraudulent rebates from Apex Learning. Rearden Capital also participated in the

  Money Laundering Scheme by accepting and laundering proceeds derived from the May

  Enterprise Scheme, which were subsequently utilized by Rearden Capital to acquire interests

  in real property through the Real Estate Acquisition Scheme.

         187.    During all relevant times, Solo Products was directed and controlled by

  Kunkemoeller. Solo Products participated in the Money Laundering Scheme by accepting and

  laundering proceeds derived from the May Enterprise Scheme.

         188.    During all relevant times, Direct Store Delivery was directed and controlled by

  Kunkemoeller. Direct Store Delivery participated in the Money Laundering Scheme by

  accepting and laundering proceeds derived by the May Enterprise Scheme.

         189.    The May Enterprise’s acts of racketeering activity have been conducted in

  furtherance of its objectives, having the same or similar intent, results, accomplices, victims,

  and methods of commission, which have persisted for a period of sufficient longevity.

                                      Interstate Commerce

         190.    The May Enterprise Scheme affected interstate commerce in that: (a) proceeds

  from the May Enterprise Scheme were deposited in financial institutions in the United States;

  (b) proceeds from the May Enterprise Scheme were transferred between various parties and

  financial institutions through wire or other means affecting interstate commerce; (c) the May

  Enterprise Scheme involved financial institutions in the United States which affect interstate

  commerce; (d) the RICO Defendants utilized wire or radio communications in interstate

  commerce in furtherance of the May Enterprise Scheme; (e) the RICO Defendants utilized the

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  United States Postal Service or other carriers in furtherance of the May Enterprise Scheme; (f)

  the RICO Defendants committed crimes in various states, including but not limited to Florida

  and Ohio; and (g) the May Enterprise utilized proceeds from the May Enterprise Scheme to

  acquire, develop, and manage real property located in at least Florida and Ohio.

                                            Predicate Acts

            191.   The RICO Defendants in this case have committed at least two (2) predicate

  acts in furtherance of the May Enterprise Scheme, as described under each count herein.

            192.   Each RICO Defendants’ predicate acts constituted a pattern of racketeering

  activity, with both closed-ended continuity and open-ended continuity, as these activities were

  ongoing for over seven years and there is still a threat of continuing racketeering activity.

            193.   These incidents of racketeering activity were not isolated incidents, but separate

  yet interrelated acts forming a systematic and ongoing pattern of racketeering activity under 18

  U.S.C. § 1961(5). This pattern of racketeering activity extended over a substantial period of

  time, with the racketeering activity starting in or about 2009 and continuing to the present.

  Between these dates, the RICO Defendants engaged in multiple acts of racketeering described

  herein in furtherance of the May Enterprise’s criminal objectives.

            194.   Further, the RICO Defendants have already established a pattern of engaging in

  multiple schemes, including schemes to launder proceeds from racketeering activities.

  Consequently, there is a risk that such misconduct is continuing now and will continue into the

  future.

                                                Injury

            195.   Each of the RICO Defendants’ predicate acts have injured Plaintiffs by causing

  them to incur monetary damages, a substantial amount of unnecessary attorneys’ fees,

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  expenses, and other damages directly by reason of the RICO Defendants’ brazen crimes. In

  addition, Plaintiffs have suffered harm to their reputation in the communities they serve.

          196.     These injuries to Plaintiffs are a direct and proximate result of the RICO

  Defendants’ violations of 18 U.S.C. § 1962 and section 772.103, Florida Statutes. Plaintiffs

  are victims of the illegal acts of May Enterprise. Plaintiffs have suffered and continue to suffer

  the loss of their funds, harm to their business reputation, attorneys’ fees, litigation expenses,

  and other damages arising from the racketeering conduct of the May Enterprise in an amount

  to be determined at trial.

                     COUNT I: FEDERAL RICO (18 U.S.C. § 1962(c) & (d))
                                  (Against Marcus May)

          197.     Plaintiffs incorporate by reference paragraphs 1 through 196 of this Complaint

  as if set forth in full.

          198.     May is a key member of the May Enterprise, an “association-in-fact” enterprise

  under RICO, 18 U.S.C. § 1961(4). May was the principal architect of the May Enterprise and

  participated in the affairs of the May Enterprise through a pattern of racketeering activity in

  furtherance of the May Enterprise Scheme.

          199.     May engaged in at least two predicate acts within a ten-year period that

  constitute a pattern of “racketeering activities” under the Federal RICO statute, 18 U.S.C. §

  1961(1). These racketeering activities were aimed at intentionally defrauding the Plaintiffs of

  substantial sums of money, enriching the RICO Defendants and others that may yet be

  unidentified, and concealing these activities. Specific predicate acts that May engaged in

  include, but are not limited to, the following:




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          a. In violation of 18 U.S.C. § 1341, at the direction of May, Red Ignition, LLC,

             mailed Palm Bay Education fraudulent invoices that included items

             substantially marked up above costs as part of the Fraudulent Invoicing Scheme,

             including, but not limited to, those fraudulent invoices detailed in Paragraphs

             86 through 88.

          b. In violation of 18 U.S.C. § 1341, at the direction of May, School Warehouse

             mailed the Plaintiffs fraudulent invoices that included items substantially

             marked up above costs as part of the Fraudulent Invoicing Scheme, including,

             but not limited to, those fraudulent invoices detailed in Paragraphs 74 through

             99.

          c. In violation of 18 U.S.C. § 1341, at the direction of May, Newpoint Education

             Partners mailed the Plaintiffs fraudulent invoices that included items

             substantially marked up above costs as part of the Fraudulent Invoicing Scheme,

             including, but not limited to, those fraudulent invoices detailed in Paragraphs

             69 through 99.

          d. In violation of 18 U.S.C. § 1343, May engaged in various email

             communications with Apex Learning, where he devised a scheme or artifice to

             defraud the Plaintiffs of substantial sums of money through the Fraudulent Apex

             Rebate Scheme and negotiated with Apex Learning the terms of the scheme or

             artifice, including, but not limited to, those communications described in

             Paragraphs 108 through 127.

          e. In violation of 18 U.S.C. § 1343, May directed Apex Learning to transmit to

             Rearden Capital fraudulent kickbacks disguised as “rebates” derived from the

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             Fraudulent Apex Rebate Scheme through wire or other means, as described in

             Paragraphs 111 through 117.

          f. In violation of 18 U.S.C. § 1343, at the direction of May, Rearden Capital

             conducted or participated in financial transactions through wire of proceeds

             derived from the Fraudulent Invoicing Scheme, as described in Paragraphs 113

             through 127; 129 through 131; 159 through 164; and 186.

          g. In violation of 18 U.S.C. § 1343, at the direction of May, Leekca Properties

             conducted or participated in financial transactions through wire of proceeds

             derived from the Fraudulent Invoicing Scheme, as described in Paragraphs 153

             through 158.

          h. In violation of 18 U.S.C. § 1343, at the direction of May, Broadway Properties

             conducted or participated in financial transactions through wire of proceeds

             derived from the Fraudulent Invoicing Scheme, as described in Paragraph 163.

          i. In violation of 18 U.S.C. § 1343, at the direction of May, Roosevelt Property

             conducted or participated in financial transactions through wire of proceeds

             derived from the Fraudulent Invoicing Scheme, as described in Paragraphs 150

             and 153.

          j. In violation of 18 U.S.C. § 1343, at the direction of May, 840 W. State St.

             conducted or participated in financial transactions through wire of proceeds

             derived from the Fraudulent Invoicing Scheme, as described in Paragraphs 32

             and 175.

          k. In violation of 18 U.S.C. § 1343, at the direction of May, Blue Victorian

             Property conducted or participated in financial transactions through wire of

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                   proceeds derived from the Fraudulent Invoicing Scheme, as described in

                   Paragraph 164.

                l. In violation of 18 U.S.C. § 1343, at the direction of May, Crossburn Properties

                   conducted or participated in financial transactions through wire of proceeds

                   derived from the Fraudulent Invoicing Scheme, as described in Paragraphs 130,

                   151, and 153.

                m. In violation of 18 U.S.C. § 1343, at the direction of May, Main Street Properties

                   conducted or participated in financial transactions through wire of proceeds

                   derived from the Fraudulent Invoicing Scheme, as described in Paragraph 162.

                n. In violation of 18 U.S.C. § 1343, at the direction of May, Market Canton

                   conducted or participated in financial transactions through wire of proceeds

                   derived from the Fraudulent Invoicing Scheme, as described in Paragraphs 167

                   through 168.

                o. In violation of 18 U.S.C. § 1956, May conducted or participated in financial

                   transactions designed to disguise the nature, location, source, ownership, or

                   control of proceeds derived from the Fraudulent Invoicing Scheme and other

                   component schemes of the May Enterprise Scheme, including, but not limited

                   to, those financial transactions identified in Paragraphs 69 through 99; 128

                   through 131; 146 through 172; and 173 through 176.

         200.      May unlawfully, knowingly, and willfully combined, conspired, confederated,

  and agreed together and with others to violate 18 U.S.C. § 1962(c), as described above, in

  violation of 18 U.S.C. § 1962(d).



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         201.    Upon information and belief, May knew that he was engaged in a conspiracy to

  commit the predicate acts, and knew that the predicate acts were part of such racketeering

  activity, and his participation in each of them was necessary to allow the commission of this

  pattern of racketeering activity. This conduct constitutes a conspiracy to violate 18 U.S.C. §

  1962(c), in violation of 18 U.S.C. § 1962(d).

         202.    As a direct and proximate result of May’s conspiracy, the overt acts taken in

  furtherance of that conspiracy, and the racketeering activities in violation of 18 U.S.C. §

  1962(c), Plaintiffs have been injured in their business and property.

         203.    Pursuant to 18 U.S.C. § 1964(c), Plaintiffs are entitled to recover compensatory

  damages, treble damages, plus costs and attorneys’ fees, from May and the other RICO

  Defendants.

         WHEREFORE, Plaintiffs demand judgment against May and relief as follows:

                a) An order that May, his officers, agents, employees, and any persons in active

                   concert or participation with them be restrained and enjoined from directly or

                   indirectly   transferring,   selling,   alienating,    liquidating,   converting,

                   withdrawing, or otherwise disposing of any money or other of May’s assets;

                b) Damages, trebled according to 18 U.S.C. § 1964(c) for which all RICO

                   Defendants are jointly and severally liable;

                c) A finding of alter ego liability between May and his controlled entities;

                d) Pre-judgment interest;

                e) Plaintiffs’ reasonable attorneys’ fees and costs according to 18 U.S.C. §

                   1964(c);

                f) An accounting of May’s assets; and

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                  g) Imposition of an equitable lien and constructive trust.

                     COUNT II: FEDERAL RICO (18 U.S.C. § 1962(c) & (d))
                                (Against Steven Kunkemoeller)

          204.      Plaintiffs incorporate by reference paragraphs 1 through 196 of this Complaint

  as if set forth in full.

          205.      Kunkemoeller is a key member of the May Enterprise, an “association-in-fact”

  enterprise under RICO, 18 U.S.C. § 1961(4). Kunkemoeller agreed to and did conduct and

  participate in the conduct of the May Enterprise’s affairs through a pattern of racketeering

  activity in furtherance of the May Enterprise Scheme.

          206.      Kunkemoeller engaged in at least two predicate acts within a ten-year period

  that constitute a pattern of “racketeering activities” under the Federal RICO statute, 18 U.S.C.

  § 1961(1). These racketeering activities were aimed at intentionally defrauding the Plaintiffs

  of substantial sums of money, enriching the RICO Defendants and others that may yet be

  unidentified, and concealing these activities.        Specific predicate acts that Kunkemoeller

  engaged in include, but are not limited to, the following:

                 a. In violation of 18 U.S.C. § 1341, at the direction of Kunkemoeller, School

                    Warehouse mailed the Plaintiffs fraudulent invoices that included items

                    substantially marked up above costs as part of the Fraudulent Invoicing Scheme,

                    including, but not limited to, those fraudulent invoices detailed in Paragraphs

                    74 through 99.

                 b. In violation of 18 U.S.C. § 1343, at the direction of Kunkemoeller, School

                    Warehouse conducted or participated in financial transactions through wire of

                    proceeds derived from the Fraudulent Invoicing Scheme, as described in


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             Paragraphs 74 through 99.

          c. In violation of 18 U.S.C. § 1343, at the direction of Kunkemoeller, Direct Store

             Delivery conducted or participated in financial transactions through wire of

             proceeds derived from the Fraudulent Invoicing Scheme, as described in

             Paragraphs 128 through 131; 150; 158; and 188.

          d. In violation of 18 U.S.C. § 1343, at the direction of Kunkemoeller, Solo

             Products conducted or participated in financial transactions through wire of

             proceeds derived from the Fraudulent Invoicing Scheme, as described in

             Paragraphs 76; 129 through 131; 151; 170; and 187.

          e. In violation of 18 U.S.C. § 1343, at the direction of Kunkemoeller, Red Ignition,

             LLC, conducted or participated in financial transactions through wire of

             proceeds derived from the Fraudulent Invoicing Scheme, as described in

             Paragraphs 75; 87 through 88; 105 through 106; 129 through 131; and 185.

          f. In violation of 18 U.S.C. § 1343, at the direction of Kunkemoeller, Market

             Canton conducted or participated in financial transactions through wire of

             proceeds derived from the Fraudulent Invoicing Scheme, as described in

             Paragraphs 167 through 168.

          g. In violation of 18 U.S.C. § 1343, at the direction of Kunkemoeller, Crossburn

             Properties conducted or participated in financial transactions through wire of

             proceeds derived from the Fraudulent Invoicing Scheme, as described in

             Paragraphs 129 through 131; 151; and 153.

          h. In violation of 18 U.S.C. § 1956, Kunkemoeller conducted or participated in

             financial transactions designed to disguise the nature, location, source,

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                 ownership, or control of proceeds from the Fraudulent Invoicing Scheme,

                 including, but not limited to, those financial transactions identified in

                 Paragraphs 69 through 99; 128 through 131; and 146 through 172.

         207.    Kunkemoeller unlawfully, knowingly, and willfully combined, conspired,

  confederated, and agreed together and with others to violate 18 U.S.C. § 1962(c), as described

  above, in violation of 18 U.S.C. § 1962(d).

         208.    Upon information and belief, Kunkemoeller knew that he was engaged in a

  conspiracy to commit the predicate acts, and knew that the predicate acts were part of such

  racketeering activity, and his participation in each of them was necessary to allow the

  commission of this pattern of racketeering activity. This conduct constitutes a conspiracy to

  violate 18 U.S.C. § 1962(c), in violation of 18 U.S.C. § 1962(d).

         209.    As a direct and proximate result of Kunkemoeller’s conspiracy, the overt acts

  taken in furtherance of that conspiracy, and the racketeering activities in violation of 18 U.S.C.

  § 1962(c), Plaintiffs have been injured in their business and property.

         210.    Pursuant to 18 U.S.C. § 1964(c), Plaintiffs are entitled to recover compensatory

  damages, treble damages, plus costs and attorney’s fees, from Kunkemoeller and the other

  RICO Defendants.

         WHEREFORE, Plaintiffs demand judgment against Kunkemoeller and relief as

  follows:

                a) An order that Kunkemoeller, his officers, agents, employees, and any persons

                   in active concert or participation with them be restrained and enjoined from

                   directly or indirectly transferring, selling, alienating, liquidating, converting,

                   withdrawing, or otherwise disposing of any money or other of

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                     Kunkemoeller’s assets;

                 b) Damages, trebled according to 18 U.S.C. § 1964(c) for which all RICO

                     Defendants are jointly and severally liable;

                 c) A finding of alter ego liability between Kunkemoeller and his controlled

                     entities;

                 d) Pre-judgment interest;

                 e) Plaintiffs’ reasonable attorneys’ fees and costs according to 18 U.S.C. §

                     1964(c);

                 f) An accounting of Kunkemoeller’s assets; and

                 g) Imposition of an equitable lien and constructive trust.

                    COUNT III: FEDERAL RICO (18 U.S.C. § 1962(c) & (d))
                                   (Against Mary May)

          211.     Plaintiffs incorporate by reference paragraphs 1 through 196 of this Complaint

  as if set forth in full.

          212.     Mary May is a key member of the May Enterprise, an “association-in-fact”

  enterprise under RICO, 18 U.S.C. § 1961(4). Mary May agreed to and did conduct and

  participate in the conduct of the May Enterprise’s affairs through a pattern of racketeering

  activity in furtherance of the May Enterprise Scheme. Mary May directly benefitted from and

  assisted May in carrying out the illegal scheme to defraud Plaintiffs.

          213.     In furtherance of the May Enterprise, Mary May engaged in at least two

  predicate acts within a ten-year period that constitute a pattern of “racketeering activities”

  under the Federal RICO statute, 18 U.S.C. § 1961(1). These racketeering activities were aimed

  at intentionally defrauding the Plaintiffs of substantial sums of money, enriching the RICO


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  Defendants and others that may yet be unidentified, and concealing these activities. Specific

  predicate acts that Mary May engaged in include, but are not limited to, the following:

             a. In violation of 18 U.S.C. § 1343, at the direction of Mary May, Rearden Capital

                 conducted or participated in financial transactions through wire of proceeds

                 derived from the Fraudulent Invoicing Scheme, as described in Paragraphs 113

                 through 127; 129 through 131; 159 through 164; and 186.

             b. In violation of 18 U.S.C. § 1343, at the direction of Mary May, Leekca Properties

                 conducted or participated in financial transactions through wire of proceeds

                 derived from the Fraudulent Invoicing Scheme, as described in Paragraphs 153

                 through 158.

             c. In violation of 18 U.S.C. § 1343, at the direction of Mary May, Broadway

                 Properties conducted or participated in financial transactions through wire of

                 proceeds derived from the Fraudulent Invoicing Scheme, as described in

                 Paragraph 163.

             d. In violation of 18 U.S.C. § 1343, at the direction of Mary May, Roosevelt

                 Property conducted or participated in financial transactions through wire of

                 proceeds derived from the Fraudulent Invoicing Scheme, as described in

                 Paragraphs 150 through 153.

             e. In violation of 18 U.S.C. § 1343, at the direction of Mary May, 840 W. State St.

                 conducted or participated in financial transactions through wire of proceeds

                 derived from the Fraudulent Invoicing Scheme, as described in Paragraphs 32

                 and 175.

             f. In violation of 18 U.S.C. § 1343, at the direction of Mary May, Blue Victorian

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                   Property conducted or participated in financial transactions through wire of

                   proceeds derived from the Fraudulent Invoicing Scheme, as described in

                   Paragraph 164.

                g. In violation of 18 U.S.C. § 1343, at the direction of Mary May, Crossburn

                   Properties conducted or participated in financial transactions through wire of

                   proceeds derived from the Fraudulent Invoicing Scheme, as described in

                   Paragraphs 130 through 131; 151; and 153.

                h. In violation of 18 U.S.C. § 1343, at the direction of Mary May, Main Street

                   Properties conducted or participated in financial transactions through wire of

                   proceeds derived from the Fraudulent Invoicing Scheme, as described in

                   Paragraph 162.

                i. In violation of 18 U.S.C. § 1343, at the direction of Mary May, Market Canton

                   conducted or participated in financial transactions through wire of proceeds

                   derived from the Fraudulent Invoicing Scheme, as described in Paragraphs 167

                   through 168.

                j. In violation of 18 U.S.C. § 1956, Mary May conducted or participated in

                   financial transactions designed to disguise the nature, location, source,

                   ownership, or control of proceeds from the Fraudulent Invoicing Scheme,

                   including, but not limited to, those financial transactions identified in

                   Paragraphs 69 through 99; 128 through 131; 146 through 172; and 173 through

                   176.

         214.      Mary May unlawfully, knowingly, and willfully combined, conspired,

  confederated, and agreed together and with others to violate 18 U.S.C. § 1962(c), as described

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  above, in violation of 18 U.S.C. § 1962(d).

         215.    Upon information and belief, Mary May knew that she was engaged in a

  conspiracy to commit the predicate acts, and knew that the predicate acts were part of such

  racketeering activity, and her participation in each of them was necessary to allow the

  commission of this pattern of racketeering activity. This conduct constitutes a conspiracy to

  violate 18 U.S.C. § 1962(c), in violation of 18 U.S.C. § 1962(d).

         216.    As a direct and proximate result of Mary May’s conspiracy, the overt acts taken

  in furtherance of that conspiracy, and the racketeering activities in violation of 18 U.S.C. §

  1962(c), Plaintiffs have been injured in their business and property.

         217.    Pursuant to 18 U.S.C. § 1964(c), Plaintiffs are entitled to recover compensatory

  damages, treble damages, plus costs and attorney’s fees, from Mary May and the other RICO

  Defendants.

         WHEREFORE, Plaintiffs demand judgment against Mary May and relief as follows:

                a) An order that Mary May, her officers, agents, employees, and any persons in

                   active concert or participation with them be restrained and enjoined from

                   directly or indirectly transferring, selling, alienating, liquidating, converting,

                   withdrawing, or otherwise disposing of any money or other of Mary May’s

                   assets;

                b) Damages, trebled according to 18 U.S.C. § 1964(c) for which all RICO

                   Defendants are jointly and severally liable;

                c) A finding of alter ego liability between Mary May and her controlled entities,

                   including the Morningwood Trust;

                d) Pre-judgment interest;

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                 e) Plaintiffs’ reasonable attorneys’ fees and costs according to 18 U.S.C. §

                     1964(c);

                 f) An accounting of Mary May’s assets; and

                 g) Imposition of an equitable lien and constructive trust.

                    COUNT IV: FEDERAL RICO (18 U.S.C. § 1962(c) & (d))
                                 (Against Susan M. Kunkemoeller)


          218.     Plaintiffs incorporate by reference paragraphs 1 through 196 of this Complaint

  as if set forth in full.

          219.     Susan Kunkemoeller is a key member of the May Enterprise, an “association-

  in-fact” enterprise under RICO, 18 U.S.C. § 1961(4). Susan Kunkemoeller agreed to and did

  conduct and participate in the conduct of the May Enterprise’s affairs through a pattern of

  racketeering activity in furtherance of the May Enterprise Scheme. Susan Kunkemoeller

  directly benefitted from and assisted May in carrying out the illegal scheme to defraud

  Plaintiffs.

          220.     In furtherance of the May Enterprise, Susan Kunkemoeller engaged in at least

  two predicate acts within a ten-year period that constitute a pattern of “racketeering activities”

  under the Federal RICO statute, 18 U.S.C. § 1961(1). These racketeering activities were aimed

  at intentionally defrauding the Plaintiffs of substantial sums of money, enriching the RICO

  Defendants and others that may yet be unidentified, and concealing these activities. Specific

  predicate acts that Susan Kunkemoeller engaged in include, but are not limited to, the

  following:




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                a. In violation of 18 U.S.C. § 1343, Susan Kunkemoeller conducted or participated

                   in financial transactions through wire of proceeds derived from the Fraudulent

                   Invoicing Scheme, as described in Paragraphs 129 through 131; 146; 167

                   through 172.

                b. In violation of 18 U.S.C. § 1956, Susan Kunkemoeller conducted or participated

                   in financial transactions designed to disguise the nature, location, source,

                   ownership, or control of proceeds from the Fraudulent Invoicing Scheme,

                   including, but not limited to, those financial transactions identified in

                   Paragraphs 69 through 99; 128 through 131; and 146 through 172.

         221.      Susan Kunkemoeller unlawfully, knowingly, and willfully combined,

  conspired, confederated, and agreed together and with others to violate 18 U.S.C. § 1962(c),

  as described above, in violation of 18 U.S.C. § 1962(d).

         222.      Upon information and belief, Susan Kunkemoeller knew that she was engaged

  in a conspiracy to commit the predicate acts, and knew that the predicate acts were part of such

  racketeering activity, and her participation in each of them was necessary to allow the

  commission of this pattern of racketeering activity. This conduct constitutes a conspiracy to

  violate 18 U.S.C. § 1962(c), in violation of 18 U.S.C. § 1962(d).

         223.      As a direct and proximate result of Susan Kunkemoeller’s conspiracy, the overt

  acts taken in furtherance of that conspiracy, and the racketeering activities in violation of 18

  U.S.C. § 1962(c), Plaintiffs have been injured in their business and property.

         224.      Pursuant to 18 U.S.C. § 1964(c), Plaintiffs are entitled to recover compensatory

  damages, treble damages, plus costs and attorney’s fees, from Susan Kunkemoeller and the

  other RICO Defendants.

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          WHEREFORE, Plaintiffs demand judgment against Susan Kunkemoeller and relief as

  follows:

                 a) An order that Susan Kunkemoeller, her officers, agents, employees, and any

                 persons in active concert or participation with them be restrained and enjoined

                 from directly or indirectly transferring, selling, alienating, liquidating, converting,

                 withdrawing, or otherwise disposing of any money or other of Susan

                 Kunkemoeller’s assets;

                 b) Damages, trebled according to 18 U.S.C. § 1964(c) for which all RICO

                 Defendants are jointly and severally liable;

                 c)    A finding of alter ego liability between Susan Kunkemoeller and her

          controlled entities, including the Susan M. Kunkemoeller Trust;

                 d) Pre-judgment interest;

                 e) Plaintiffs’ reasonable attorneys’ fees and costs according to 18 U.S.C. §

          1964(c);

                 f) An accounting of Susan Kunkemoeller’s assets; and

                 g) Imposition of an equitable lien and constructive trust.

                      COUNT V: FEDERAL RICO (18 U.S.C. § 1962(c) & (d))
                                 (Against School Warehouse)

          225.     Plaintiffs incorporate by reference paragraphs 1 through 196 of this Complaint

  as if set forth in full.

          226.     School Warehouse is a member of the May Enterprise, an “association-in-fact”

  enterprise under RICO, 18 U.S.C. § 1961(4). School Warehouse agreed to and did conduct

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  and participate in the conduct of the May Enterprise’s affairs through a pattern of racketeering

  activity in furtherance of the May Enterprise Scheme.

         227.      School Warehouse engaged in at least two predicate acts within a ten-year

  period that constitute a pattern of “racketeering activities” under the Federal RICO statute, 18

  U.S.C. § 1961(1). These racketeering activities were aimed at intentionally defrauding the

  Plaintiffs of substantial sums of money, enriching the RICO Defendants and others that may

  yet be unidentified, and concealing these activities. Specific predicate acts that School

  Warehouse engaged in include, but are not limited to, the following:

                a. In violation of 18 U.S.C. § 1341, School Warehouse, at the direction of

                   Kunkemoeller, mailed the Plaintiffs fraudulent invoices that included items

                   substantially marked up above costs as part of the Fraudulent Invoicing Scheme,

                   including, but not limited to, those fraudulent invoices detailed in Paragraphs

                   74 through 99.

                b. In violation of 18 U.S.C. § 1956, School Warehouse conducted or participated

                   in financial transactions designed to disguise the nature, location, source,

                   ownership, or control of proceeds from the Fraudulent Invoicing Scheme,

                   including, but not limited to, those financial transactions identified in

                   Paragraphs 69 through 99; 128 through 131; and 146 through 172.

         228.      School Warehouse unlawfully, knowingly, and willfully combined, conspired,

  confederated, and agreed together and with others to violate 18 U.S.C. § 1962(c), as described

  above, in violation of 18 U.S.C. § 1962(d).

         229.      Upon information and belief, School Warehouse knew that it was engaged in a

  conspiracy to commit the predicate acts, and knew that the predicate acts were part of such

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  racketeering activity, and its participation in each of them was necessary to allow the

  commission of this pattern of racketeering activity. This conduct constitutes a conspiracy to

  violate 18 U.S.C. § 1962(c), in violation of 18 U.S.C. § 1962(d).

         230.    As a direct and proximate result of School Warehouse’s conspiracy, the overt

  acts taken in furtherance of that conspiracy, and the racketeering activities in violation of 18

  U.S.C. § 1962(c), Plaintiffs have been injured in their business and property.

         231.    Pursuant to 18 U.S.C. § 1964(c), Plaintiffs are entitled to recover compensatory

  damages, treble damages, plus costs and attorney’s fees, from School Warehouse and the other

  RICO Defendants.

         WHEREFORE, Plaintiffs demand judgment against School Warehouse and relief as

  follows:

                a) An order that School Warehouse, its officers, agents, employees, and any

                   persons in active concert or participation with them be restrained and enjoined

                   from directly or indirectly transferring, selling, alienating, liquidating,

                   converting, withdrawing, or otherwise disposing of any money or other of

                   School Warehouse’s assets;

                b) Damages, trebled according to 18 U.S.C. § 1964(c) for which all RICO

                   Defendants are jointly and severally liable;

                c) A finding of alter ego liability between School Warehouse and its controlled

                   entities;

                d) Pre-judgment interest;

                e) Plaintiffs’ reasonable attorneys’ fees and costs according to 18 U.S.C. §

                   1964(c);

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                  f) An accounting of School Warehouse’s assets; and

                  g) Imposition of an equitable lien and constructive trust.

                     COUNT VI: FEDERAL RICO (18 U.S.C. § 1962(c) & (d))
                           (Against Newpoint Education Partners)

          232.      Plaintiffs incorporate by reference paragraphs 1 through 196 of this Complaint

  as if set forth in full.

          233.      Newpoint Education Partners is a member of the May Enterprise, an

  “association-in-fact” enterprise under RICO, 18 U.S.C. § 1961(4). Newpoint Education

  Partners agreed to and did conduct and participate in the conduct of the May Enterprise’s affairs

  through a pattern of racketeering activity in furtherance of the May Enterprise Scheme.

          234.      Newpoint Education Partners engaged in at least two predicate acts within a ten-

  year period that constitute a pattern of “racketeering activities” under the Federal RICO statute,

  18 U.S.C. § 1961(1). These racketeering activities were aimed at intentionally defrauding the

  Plaintiffs of substantial sums of money, enriching the RICO Defendants and others that may

  yet be unidentified, and concealing these activities. Specific predicate acts that Newpoint

  Education Partners engaged in include, but are not limited to, the following:

                 a. In violation of 18 U.S.C. § 1341, at the direction of May, Newpoint Education

                    Partners mailed the Plaintiffs fraudulent invoices that included items

                    substantially marked up above costs as part of the Fraudulent Invoicing Scheme,

                    including, but not limited to, those fraudulent invoices detailed in Paragraphs

                    69 through 99.

                 b. In violation of 18 U.S.C. § 1343, Newpoint Education Partners engaged in

                    various email communications with Apex Learning, wherein Newpoint


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                   Education Partners devised a scheme or artifice to defraud the Plaintiffs of

                   substantial sums of money through the Fraudulent Apex Rebate Scheme and

                   negotiated with Apex Learning the terms of the scheme or artifice, including,

                   but not limited to, those communications described in Paragraphs 111 through

                   127.

                c. In violation of 18 U.S.C. § 1956, Newpoint Education Partners conducted or

                   participated in financial transactions through wire of proceeds from the

                   Fraudulent Invoice Scheme, including, but not limited to those financial

                   transactions described in Paragraphs 69 through 99; 128 through 131; and 146

                   through 172.

         235.      Newpoint Education Partners unlawfully, knowingly, and willfully combined,

  conspired, confederated, and agreed together and with others to violate 18 U.S.C. § 1962(c),

  as described above, in violation of 18 U.S.C. § 1962(d).

         236.      Upon information and belief, Newpoint Education Partners knew that it was

  engaged in a conspiracy to commit the predicate acts, and knew that the predicate acts were

  part of such racketeering activity, and its participation in each of them was necessary to allow

  the commission of this pattern of racketeering activity. This conduct constitutes a conspiracy

  to violate 18 U.S.C. § 1962(c), in violation of 18 U.S.C. § 1962(d).

         237.      As a direct and proximate result of Newpoint Education Partners’ conspiracy,

  the overt acts taken in furtherance of that conspiracy, and the racketeering activities in violation

  of 18 U.S.C. § 1962(c), Plaintiffs have been injured in their business and property.

         238.      Pursuant to 18 U.S.C. § 1964(c), Plaintiffs are entitled to recover compensatory

  damages, treble damages, plus costs and attorney’s fees, from Newpoint Education Partners

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  and the other RICO Defendants.

          WHEREFORE, Plaintiffs demand judgment against Newpoint Education Partners and

  relief as follows:

                 a) An order that Newpoint Education Partners, its officers, agents, employees,

                       and any persons in active concert or participation with them be restrained and

                       enjoined from directly or indirectly transferring, selling, alienating,

                       liquidating, converting, withdrawing, or otherwise disposing of any money or

                       other of Newpoint Education Partners’ assets;

                 b) Damages, trebled according to 18 U.S.C. § 1964(c) for which all RICO

                       Defendants are jointly and severally liable;

                 c) A finding of alter ego liability between Newpoint Education Partners and its

                       controlled entities;

                 d) Pre-judgment interest;

                 e) Plaintiffs’ reasonable attorneys’ fees and costs according to 18 U.S.C. §

                       1964(c);

                 f) An accounting of Newpoint Education Partners’ assets; and

                 g) Imposition of an equitable lien and constructive trust.

                    COUNT VII: FEDERAL RICO (18 U.S.C. § 1962(c) & (d))
                           (Against Cambridge Education Group)

          239.     Plaintiffs incorporate by reference paragraphs 1 through 196 of this Complaint

  as if set forth in full.

          240.     Cambridge Education Group is a member of the May Enterprise, an

  “association-in-fact” enterprise under RICO, 18 U.S.C. § 1961(4). Cambridge Education


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  Group agreed to and did conduct and participate in the conduct of the May Enterprise’s affairs

  through a pattern of racketeering activity in furtherance of the May Enterprise Scheme.

         241.      Cambridge Education Group engaged in at least two predicate acts within a ten-

  year period that constitute a pattern of “racketeering activities” under the Federal RICO statute,

  18 U.S.C. § 1961(1). These racketeering activities were aimed at intentionally defrauding the

  Plaintiffs of substantial sums of money, enriching the RICO Defendants and others that may

  yet be unidentified, and concealing these activities. Specific predicate acts that Cambridge

  Education Group engaged in include, but are not limited to, the following:

                a. In violation of 18 U.S.C. § 1343, May, on behalf of Cambridge Education

                   Group, engaged in various email communications with Apex Learning, where

                   he devised a scheme or artifice to defraud the Plaintiffs of substantial sums of

                   money through the Fraudulent Apex Rebate Scheme and negotiated with Apex

                   Learning the terms of the scheme or artifice, including, but not limited to, those

                   communications described in Paragraphs 111 through 127.

                b. In violation of 18 U.S.C. § 1343, May, on behalf of Cambridge Education

                   Group, directed Apex Learning to transmit to Rearden Capital fraudulent

                   kickbacks disguised as “rebates” derived from the Fraudulent Apex Rebate

                   Scheme through wire or other means, as described in Paragraphs 179 through

                   183.

                c. In violation of 18 U.S.C. § 1956, Cambridge Education Group conducted or

                   participated in financial transactions designed to disguise the nature, location,

                   source, ownership, or control of proceeds derived from the Fraudulent Invoicing

                   Scheme and other component schemes of the May Enterprise Scheme,

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                  including, but not limited to, those financial transactions identified in

                  Paragraphs 69 through 99; 128 through 131; and 146 through 172.

          242.    Cambridge Education Group unlawfully, knowingly, and willfully combined,

  conspired, confederated, and agreed together and with others to violate 18 U.S.C. § 1962(c),

  as described above, in violation of 18 U.S.C. § 1962(d).

          243.    Upon information and belief, Cambridge Education Group knew that it was

  engaged in a conspiracy to commit the predicate acts, and knew that the predicate acts were

  part of such racketeering activity, and its participation in each of them was necessary to allow

  the commission of this pattern of racketeering activity. This conduct constitutes a conspiracy

  to violate 18 U.S.C. § 1962(c), in violation of 18 U.S.C. § 1962(d).

          244.    As a direct and proximate result of Cambridge Education Group’s conspiracy,

  the overt acts taken in furtherance of that conspiracy, and the racketeering activities in violation

  of 18 U.S.C. § 1962(c), Plaintiffs have been injured in their business and property.

          245.    Pursuant to 18 U.S.C. § 1964(c), Plaintiffs are entitled to recover compensatory

  damages, treble damages, plus costs and attorney’s fees, from Cambridge Education Group

  and the other RICO Defendants.

          WHEREFORE, Plaintiffs demand judgment against Cambridge Education Group and

  relief as follows:

                 a) An order that Cambridge Education Group, its officers, agents, employees,

                       and any persons in active concert or participation with them be restrained and

                       enjoined from directly or indirectly transferring, selling, alienating,

                       liquidating, converting, withdrawing, or otherwise disposing of any money or

                       other of Cambridge Education Group’s assets;

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                 b) Damages, trebled according to 18 U.S.C. § 1964(c) for which all RICO

                     Defendants are jointly and severally liable;

                 c) A finding of alter ego liability between Cambridge Education Group and its

                     controlled entities, including Newpoint Education Partners;

                 d) A finding of alter ego liability between Cambridge Education Group and its

                     controlled entities;

                 e) Pre-judgment interest;

                 f) Plaintiffs’ reasonable attorneys’ fees and costs according to 18 U.S.C. §

                     1964(c);

                 g) An accounting of Cambridge Education Group’s assets; and

                 h) Imposition of an equitable lien and constructive trust.

                   COUNT VIII: FEDERAL RICO (18 U.S.C. § 1962(c) & (d))
                                 (Against Solo Products)

          246.     Plaintiffs incorporate by reference paragraphs 1 through 196 of this Complaint

  as if set forth in full.

          247.     Solo Products is a member of the May Enterprise, an “association-in-fact”

  enterprise under RICO, 18 U.S.C. § 1961(4). Solo Products agreed to and did conduct and

  participate in the conduct of the May Enterprise’s affairs through a pattern of racketeering

  activity in furtherance of the May Enterprise Scheme.

          248.     Solo Products engaged in at least two predicate acts within a ten-year period

  that constitute a pattern of “racketeering activities” under the Federal RICO statute, 18 U.S.C.

  § 1961(1). These racketeering activities were aimed at intentionally defrauding the Plaintiffs

  of substantial sums of money, enriching the RICO Defendants and others that may yet be


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  unidentified, and concealing these activities.       Specific predicate acts that Solo Products

  engaged in include, but are not limited to, the following:

                a. In violation of 18 U.S.C. § 1956, Solo Products conducted or participated in

                   financial transactions designed to disguise the nature, location, source,

                   ownership, or control of proceeds from the Fraudulent Invoicing Scheme,

                   including, but not limited to, those financial transactions identified in

                   Paragraphs 69 through 99; 128 through 131; and 146 through 172.

         249.      Solo Products unlawfully, knowingly, and willfully combined, conspired,

  confederated, and agreed together and with others to violate 18 U.S.C. § 1962(c), as described

  above, in violation of 18 U.S.C. § 1962(d).

         250.      Upon information and belief, Solo Products knew that it was engaged in a

  conspiracy to commit the predicate acts, and knew that the predicate acts were part of such

  racketeering activity, and its participation in each of them was necessary to allow the

  commission of this pattern of racketeering activity. This conduct constitutes a conspiracy to

  violate 18 U.S.C. § 1962(c), in violation of 18 U.S.C. § 1962(d).

         251.      As a direct and proximate result of Solo Products’ conspiracy, the overt acts

  taken in furtherance of that conspiracy, and the racketeering activities in violation of 18 U.S.C.

  § 1962(c), Plaintiffs have been injured in their business and property.

         252.      Pursuant to 18 U.S.C. § 1964(c), Plaintiffs are entitled to recover compensatory

  damages, treble damages, plus costs and attorney’s fees, from Solo Products and the other

  RICO Defendants.




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          WHEREFORE, Plaintiffs demand judgment against Solo Products and relief as

  follows:

                 a) An order that Solo Products, its officers, agents, employees, and any persons

                     in active concert or participation with them be restrained and enjoined from

                     directly or indirectly transferring, selling, alienating, liquidating, converting,

                     withdrawing, or otherwise disposing of any money or other of Solo Products’

                     assets;

                 b) Damages, trebled according to 18 U.S.C. § 1964(c) for which all RICO

                     Defendants are jointly and severally liable;

                 c) A finding of alter ego liability between Solo Products and its controlled

                     entities;

                 d) Pre-judgment interest;

                 e) Plaintiffs’ reasonable attorneys’ fees and costs according to 18 U.S.C. §

                     1964(c);

                 f) An accounting of Solo Products’ assets; and

                 g) Imposition of an equitable lien and constructive trust.

                    COUNT IX: FEDERAL RICO (18 U.S.C. § 1962(c) & (d))
                               (Against Direct Store Delivery)

          253.     Plaintiffs incorporate by reference paragraphs 1 through 196 of this Complaint

  as if set forth in full.

          254.     Direct Store Delivery is a member of the May Enterprise, an “association-in-

  fact” enterprise under RICO, 18 U.S.C. § 1961(4). Direct Store Delivery agreed to and did

  conduct and participate in the conduct of the May Enterprise’s affairs through a pattern of


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  racketeering activity in furtherance of the May Enterprise Scheme.

         255.      Direct Store Delivery engaged in at least two predicate acts within a ten-year

  period that constitute a pattern of “racketeering activities” under the Federal RICO statute, 18

  U.S.C. § 1961(1). These racketeering activities were aimed at intentionally defrauding the

  Plaintiffs of substantial sums of money, enriching the RICO Defendants and others that may

  yet be unidentified, and concealing these activities. Specific predicate acts that Direct Store

  Delivery engaged in include, but are not limited to, the following:

                a. In violation of 18 U.S.C. § 1956, Direct Store Delivery conducted or

                   participated in financial transactions designed to disguise the nature, location,

                   source, ownership, or control of proceeds from the Fraudulent Invoicing

                   Scheme, including, but not limited to, those financial transactions identified in

                   Paragraphs 69 through 99; 128 through 131; and 146 through 172.

         256.      Direct Store Delivery unlawfully, knowingly, and willfully combined,

  conspired, confederated, and agreed together and with others to violate 18 U.S.C. § 1962(c),

  as described above, in violation of 18 U.S.C. § 1962(d).

         257.      Upon information and belief, Direct Store Delivery knew that it was engaged in

  a conspiracy to commit the predicate acts, and knew that the predicate acts were part of such

  racketeering activity, and its participation in each of them was necessary to allow the

  commission of this pattern of racketeering activity. This conduct constitutes a conspiracy to

  violate 18 U.S.C. § 1962(c), in violation of 18 U.S.C. § 1962(d).

         258.      As a direct and proximate result of Direct Store Delivery’s conspiracy, the overt

  acts taken in furtherance of that conspiracy, and the racketeering activities in violation of 18

  U.S.C. § 1962(c), Plaintiffs have been injured in their business and property.

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         259.    Pursuant to 18 U.S.C. § 1964(c), Plaintiffs are entitled to recover compensatory

  damages, treble damages, plus costs and attorney’s fees, from Direct Store Delivery and the

  other RICO Defendants.

         WHEREFORE, Plaintiffs demand judgment against Direct Store Delivery and relief as

  follows:

                a) An order that Direct Store Delivery, its officers, agents, employees, and any

                   persons in active concert or participation with them be restrained and enjoined

                   from directly or indirectly transferring, selling, alienating, liquidating,

                   converting, withdrawing, or otherwise disposing of any money or other of

                   Direct Store Delivery’s assets;

                b) Damages, trebled according to 18 U.S.C. § 1964(c) for which all RICO

                   Defendants are jointly and severally liable;

                c) A finding of alter ego liability between Direct Store Delivery and its

                   controlled entities;

                d) Pre-judgment interest;

                e) Plaintiffs’ reasonable attorneys’ fees and costs according to 18 U.S.C. §

                   1964(c);

                f) An accounting of Direct Store Delivery’s assets; and

                g) Imposition of an equitable lien and constructive trust.




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                      COUNT X: FEDERAL RICO (18 U.S.C. § 1962(c) & (d))
                                 (Against Red Ignition, LLC)

          260.      Plaintiffs incorporate by reference paragraphs 1 through 196 of this Complaint

  as if set forth in full.

          261.      Red Ignition, LLC, is a member of the May Enterprise, an “association-in-fact”

  enterprise under RICO, 18 U.S.C. § 1961(4). Red Ignition, LLC, agreed to and did conduct

  and participate in the conduct of the May Enterprise’s affairs through a pattern of racketeering

  activity in furtherance of the May Enterprise Scheme.

          262.      Red Ignition, LLC, engaged in at least two predicate acts within a ten-year

  period that constitute a pattern of “racketeering activities” under the Federal RICO statute, 18

  U.S.C. § 1961(1). These racketeering activities were aimed at intentionally defrauding the

  Plaintiffs of substantial sums of money, enriching the RICO Defendants and others that may

  yet be unidentified, and concealing these activities. Specific predicate acts that Red Ignition,

  LLC, engaged in include, but are not limited to, the following:

                 a. In violation of 18 U.S.C. § 1341, Red Ignition, LLC, at the direction of May,

                    mailed Palm Bay Education fraudulent invoices that included items

                    substantially marked up above costs as part of the Fraudulent Invoicing Scheme,

                    including, but not limited to, those fraudulent invoices detailed in Paragraphs

                    59; 75; 69 through 99; and 105 through 106.

                 b. In violation of 18 U.S.C. § 1956, Red Ignition conducted or participated in

                    financial transactions designed to disguise the nature, location, source,

                    ownership, or control of proceeds from the Fraudulent Invoicing Scheme,

                    including, but not limited to, those financial transactions identified in


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                 Paragraphs 69 through 99; 128 through 131; 146 through 172; and 185.

         263.    Red Ignition, LLC, unlawfully, knowingly, and willfully combined, conspired,

  confederated, and agreed together and with others to violate 18 U.S.C. § 1962(c), as described

  above, in violation of 18 U.S.C. § 1962(d).

         264.    Upon information and belief, Red Ignition, LLC, knew that it was engaged in a

  conspiracy to commit the predicate acts, and knew that the predicate acts were part of such

  racketeering activity, and its participation in each of them was necessary to allow the

  commission of this pattern of racketeering activity. This conduct constitutes a conspiracy to

  violate 18 U.S.C. § 1962(c), in violation of 18 U.S.C. § 1962(d).

         265.    As a direct and proximate result of Red Ignition, LLC’s, conspiracy, the overt

  acts taken in furtherance of that conspiracy, and the racketeering activities in violation of 18

  U.S.C. § 1962(c), Plaintiffs have been injured in their business and property.

         266.    Pursuant to 18 U.S.C. § 1964(c), Plaintiffs are entitled to recover compensatory

  damages, treble damages, plus costs and attorney’s fees, from Red Ignition, LLC, and the other

  RICO Defendants.

         WHEREFORE, Plaintiffs demand judgment against Red Ignition, LLC, and relief as

  follows:

                a) An order that Red Ignition, LLC, its officers, agents, employees, and any

                   persons in active concert or participation with them be restrained and enjoined

                   from directly or indirectly transferring, selling, alienating, liquidating,

                   converting, withdrawing, or otherwise disposing of any money or other of Red

                   Ignition, LLC’s, assets;

                b) Damages, trebled according to 18 U.S.C. § 1964(c) for which all RICO

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                     Defendants are jointly and severally liable;

                 c) A finding of alter ego liability between Red Ignition, LLC, and its controlled

                     entities;

                 d) Pre-judgment interest;

                 e) Plaintiffs’ reasonable attorneys’ fees and costs according to 18 U.S.C. §

                     1964(c);

                 f) An accounting of Red Ignition, LLC’s, assets; and

                 g) Imposition of an equitable lien and constructive trust.

                    COUNT XI: FEDERAL RICO (18 U.S.C. § 1962(c) & (d))
                                (Against Rearden Capital)

          267.     Plaintiffs incorporate by reference paragraphs 1 through 196 of this Complaint

  as if set forth in full.

          268.     Rearden Capital is a member of the May Enterprise, an “association-in-fact”

  enterprise under RICO, 18 U.S.C. § 1961(4). Rearden Capital agreed to and did conduct and

  participate in the conduct of the May Enterprise’s affairs through a pattern of racketeering

  activity in furtherance of the May Enterprise Scheme.

          269.     Rearden Capital engaged in at least two predicate acts within a ten-year period

  that constitute a pattern of “racketeering activities” under the Federal RICO statute, 18 U.S.C.

  § 1961(1). These racketeering activities were aimed at intentionally defrauding the Plaintiffs

  of substantial sums of money, enriching the RICO Defendants and others that may yet be

  unidentified, and concealing these activities. Specific predicate acts that Rearden Capital

  engaged in include, but are not limited to, the following:




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                a. In violation of 18 U.S.C. § 1956, Rearden Capital conducted or participated in

                   financial transactions designed to disguise the nature, location, source,

                   ownership, or control of proceeds from the Fraudulent Invoicing Scheme,

                   including, but not limited to, those financial transactions identified in

                   Paragraphs 69 through 99; 128 through 131; 146 through 172; and 185.

         270.      Rearden Capital unlawfully, knowingly, and willfully combined, conspired,

  confederated, and agreed together and with others to violate 18 U.S.C. § 1962(c), as described

  above, in violation of 18 U.S.C. § 1962(d).

         271.      Upon information and belief, Rearden Capital knew that it was engaged in a

  conspiracy to commit the predicate acts, and knew that the predicate acts were part of such

  racketeering activity, and its participation in each of them was necessary to allow the

  commission of this pattern of racketeering activity. This conduct constitutes a conspiracy to

  violate 18 U.S.C. § 1962(c), in violation of 18 U.S.C. § 1962(d).

         272.      As a direct and proximate result of Rearden Capital’s conspiracy, the overt acts

  taken in furtherance of that conspiracy, and the racketeering activities in violation of 18 U.S.C.

  § 1962(c), Plaintiffs have been injured in their business and property.

         273.      Pursuant to 18 U.S.C. § 1964(c), Plaintiffs are entitled to recover compensatory

  damages, treble damages, plus costs and attorney’s fees, from Rearden Capital and the other

  RICO Defendants.

         WHEREFORE, Plaintiffs demand judgment against Rearden Capital and relief as

  follows:

                 a) An order that Rearden Capital, its officers, agents, employees, and any

                     persons in active concert or participation with them be restrained and enjoined

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                     from directly or indirectly transferring, selling, alienating, liquidating,

                     converting, withdrawing, or otherwise disposing of any money or other of

                     Rearden Capital’s assets;

                 b) Damages, trebled according to 18 U.S.C. § 1964(c) for which all RICO

                     Defendants are jointly and severally liable;

                 c) A finding of alter ego liability between Rearden Capital and its controlled

                     entities;

                 d) Pre-judgment interest;

                 e) Plaintiffs’ reasonable attorneys’ fees and costs according to 18 U.S.C. §

                     1964(c);

                 f) An accounting of Rearden Capital’s assets; and

                 g) Imposition of an equitable lien and constructive trust.

         COUNT XII: FLORIDA RICO (Sections 772.103 & 895.03, Florida Statutes)
                             (Against Marcus May)

          274.     Plaintiffs incorporate by reference paragraphs 1 through 196 of this Complaint

  as if set forth in full.

          275.     May is a member of the May Enterprise, an “association-in-fact” enterprise

  under sections 772.102(3) and 895.02(3), Florida Statutes. May was the principal architect of

  the May Enterprise and participated in the affairs of the May Enterprise through a pattern of

  racketeering activity in furtherance of the May Enterprise Scheme.

          276.     May engaged in at least two predicate acts within a ten-year period that

  constitute a pattern of “racketeering activities” under the Florida Civil Remedies for Criminal

  Practices Act, section 772.102, Florida Statutes, and Florida RICO, section 895.02, Florida


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  Statutes. These racketeering activities were aimed at intentionally defrauding the Plaintiffs of

  substantial sums of money, enriching the RICO Defendants and others that may yet be

  unidentified, and concealing these activities.

             a. In violation of section 817.034, Florida Statutes, at the direction of May, Red

                 Ignition, LLC, mailed Palm Bay Education fraudulent invoices that included

                 items substantially marked up above costs as part of the Fraudulent Invoicing

                 Scheme, including, but not limited to, those fraudulent invoices detailed in

                 Paragraphs 86 through 88.

             b. In violation of section 817.034, Florida Statutes, at the direction of May, School

                 Warehouse mailed the Plaintiffs fraudulent invoices that included items

                 substantially marked up above costs as part of the Fraudulent Invoicing Scheme,

                 including, but not limited to, those fraudulent invoices detailed in Paragraphs

                 74 through 99.

             c. In violation of section 817.034, Florida Statutes, at the direction of May,

                 Newpoint Education Partners mailed the Plaintiffs fraudulent invoices that

                 included items substantially marked up above costs as part of the Fraudulent

                 Invoicing Scheme, including, but not limited to, those fraudulent invoices

                 detailed in Paragraphs 69 through 99.

             d. In violation of section 817.034, Florida Statutes, May engaged in various email

                 communications with Apex Learning, where he devised a scheme or artifice to

                 defraud the Plaintiffs of substantial sums of money through the Fraudulent Apex

                 Rebate Scheme and negotiated with Apex Learning the terms of the scheme or

                 artifice, including, but not limited to, those communications described in

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             Paragraphs 108 through 127.

          e. In violation of section 817.034, Florida Statutes, May directed Apex Learning

             to transmit to Rearden Capital fraudulent kickbacks disguised as “rebates”

             derived from the Fraudulent Apex Rebate Scheme through wire or other means,

             as described in Paragraphs 111 through 117.

          f. In violation of section 817.034, Florida Statutes, at the direction of May, Rearden

             Capital conducted or participated in financial transactions through wire of

             proceeds derived from the Fraudulent Invoicing Scheme, as described in

             Paragraphs 113 through 127; 129 through 131; 159 through 164; and 186.

          g. In violation of section 817.034, Florida Statutes, at the direction of May, Leekca

             Properties conducted or participated in financial transactions through wire of

             proceeds derived from the Fraudulent Invoicing Scheme, as described in

             Paragraphs 153 through 158.

          h. In violation of section 817.034, Florida Statutes, at the direction of May,

             Broadway Properties conducted or participated in financial transactions through

             wire of proceeds derived from the Fraudulent Invoicing Scheme, as described

             in Paragraph 163.

          i. In violation of section 817.034, Florida Statutes, at the direction of May,

             Roosevelt Property conducted or participated in financial transactions through

             wire of proceeds derived from the Fraudulent Invoicing Scheme, as described

             in Paragraphs 150 and 153.

          j. In violation of section 817.034, Florida Statutes, at the direction of May, 840 W.

             State St. conducted or participated in financial transactions through wire of

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             proceeds derived from the Fraudulent Invoicing Scheme, as described in

             Paragraphs 32 and 175.

          k. In violation of section 817.034, Florida Statutes, at the direction of May, Blue

             Victorian Property conducted or participated in financial transactions through

             wire of proceeds derived from the Fraudulent Invoicing Scheme, as described

             in Paragraph 164.

          l. In violation of section 817.034, Florida Statutes, at the direction of May,

             Crossburn Properties conducted or participated in financial transactions through

             wire of proceeds derived from the Fraudulent Invoicing Scheme, as described

             in Paragraphs 130; 151; and 153.

          m. In violation of section 817.034, Florida Statutes, at the direction of May, Main

             Street Properties conducted or participated in financial transactions through

             wire of proceeds derived from the Fraudulent Invoicing Scheme, as described

             in Paragraph 162.

          n. In violation of section 817.034, Florida Statutes, at the direction of May, Market

             Canton conducted or participated in financial transactions through wire of

             proceeds derived from the Fraudulent Invoicing Scheme, as described in

             Paragraphs 167 through 168.

          o. In violation of section 896.101, Florida Statutes, May conducted or participated

             in financial transactions designed to disguise the nature, location, source,

             ownership, or control of proceeds derived from the Fraudulent Invoicing

             Scheme and other component schemes of the May Enterprise Scheme,

             including, but not limited to, those financial transactions identified in

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                 Paragraphs 69 through 99; 128 through 131; 146 through 172; and 173 through

                 176.

         277.    On November 13, 2018, May was found guilty of two counts of violating

  Florida RICO, section 895.03, Florida Statutes, and one count of violating the Florida

  Communications Fraud Act, section 817.043, Florida Statutes.

         278.    May unlawfully, knowingly, and willfully combined, conspired, confederated,

  and agreed together and with others to violate sections 772.103(3) and 895.03(3), Florida

  Statutes, as described above, in violation of sections 772.103(4) and 895.03(4), Florida

  Statutes.

         279.    Upon information and belief, May knew that he was engaged in a conspiracy to

  commit the predicate acts, and knew that the predicate acts were part of such racketeering

  activity, and his participation in each of them was necessary to allow the commission of this

  pattern of racketeering activity. This conduct constitutes a conspiracy to violate sections

  772.103(3) and 895.03(3), Florida Statutes, in violation of sections 772.103(4) and 895.03(4),

  Florida Statutes.

         280.    As a direct and proximate result of May’s conspiracy, the overt acts taken in

  furtherance of that conspiracy, and the racketeering activities in violation of sections

  772.103(3) and 895.03(3), Florida Statutes, Plaintiffs have been injured in their business and

  property.

         281.    Pursuant to section 772.104(1), Plaintiffs are entitled to treble damages plus

  costs and attorneys’ fees from May.

         282.    Pursuant to sections 895.05(1) and (6), Florida Statutes, Plaintiffs are entitled

  to an injunction preventing May from committing further violations of section 895.03, Florida

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  Statutes.

          WHEREFORE, Plaintiffs demand judgment against May and relief as follows:

                 a) An order that May, his officers, agents, employees, and any persons in active

                     concert or participation with them be restrained and enjoined from directly or

                     indirectly   transferring,   selling,   alienating,   liquidating,   converting,

                     withdrawing, or otherwise disposing of any money or other of May’s assets;

                 b) Damages, trebled according to section 772.104, Florida Statutes for which all

                     RICO Defendants are jointly and severally liable;

                 c) Entry of an injunction preventing May from committing further violations of

                     section 895.03, Florida Statutes;

                 d) A finding of alter ego liability between May and his controlled entities;

                 e) Pre-judgment interest;

                 f) Plaintiffs’ reasonable attorneys’ fees and costs according to section 772.104,

                     Florida Statutes;

                 g) An accounting of May’s assets; and

                 h) Imposition of an equitable lien and constructive trust.

        COUNT XIII: FLORIDA RICO (Sections 772.103 & 895.03, Florida Statutes)
                          (Against Steven Kunkemoeller)

          283.     Plaintiffs incorporate by reference paragraphs 1 through 196 of this Complaint

  as if set forth in full.

          284.     Kunkemoeller is a member of the May Enterprise, an “association-in-fact”

  enterprise under sections 772.102(3) and 895.02(3), Florida Statutes. Kunkemoeller agreed to

  and did conduct and participate in the conduct of the May Enterprise’s affairs through a pattern


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  of racketeering activity in furtherance of the May Enterprise Scheme.

         285.      Kunkemoeller engaged in at least two predicate acts within a ten-year period

  that constitute a pattern of “racketeering activities” under the Florida Civil Remedies for

  Criminal Practices Act, section 772.102, Florida Statutes, and Florida RICO, section 895.02,

  Florida Statutes. These racketeering activities were aimed at intentionally defrauding the

  Plaintiffs of substantial sums of money, enriching the RICO Defendants and others that may

  yet be unidentified, and concealing these activities. Specific predicate acts that Kunkemoeller

  engaged in include, but are not limited to, the following:

                a. In violation of section 817.034, Florida Statutes, at the direction of

                   Kunkemoeller, School Warehouse mailed the Plaintiffs fraudulent invoices that

                   included items substantially marked up above costs as part of the Fraudulent

                   Invoicing Scheme, including, but not limited to, those fraudulent invoices

                   detailed in Paragraphs 74 through 99.

                b. In violation of section 817.034, Florida Statutes, at the direction of

                   Kunkemoeller, Direct Store Delivery conducted or participated in financial

                   transactions through wire of proceeds derived from the Fraudulent Invoicing

                   Scheme, as described in Paragraphs 128 through 131; 150; 158; and 188.

                c. In violation of section 817.034, Florida Statutes, at the direction of

                   Kunkemoeller, Solo Products conducted or participated in financial transactions

                   through wire of proceeds derived from the Fraudulent Invoicing Scheme, as

                   described in Paragraphs 76; 129 through 131; 151; 170; and 187.

                d. In violation of section 817.034, Florida Statutes, at the direction of

                   Kunkemoeller, Red Ignition, LLC, conducted or participated in financial

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                   transactions through wire of proceeds derived from the Fraudulent Invoicing

                   Scheme, as described in Paragraphs 75; 87 through 88; 105 through 106; 129

                   through 131; and 185.

                e. In violation of section 817.034, Florida Statutes, at the direction of

                   Kunkemoeller, Market Canton conducted or participated in financial

                   transactions through wire of proceeds derived from the Fraudulent Invoicing

                   Scheme, as described in Paragraphs 167 through 168.

                f. In violation of section 817.034, Florida Statutes, at the direction of

                   Kunkemoeller, Crossburn Properties conducted or participated in financial

                   transactions through wire of proceeds derived from the Fraudulent Invoicing

                   Scheme, as described in Paragraphs 129 through 131; 151; and 153.

                g. In violation of section 896.101, Florida Statutes, Kunkemoeller conducted or

                   participated in financial transactions designed to disguise the nature, location,

                   source, ownership, or control of proceeds from the Fraudulent Invoicing

                   Scheme, including, but not limited to, those financial transactions identified in

                   Paragraphs 69 through 99; 128 through 131; and 146 through 172.

         286.      On May 18, 2018, Kunkemoeller was found guilty of one count of violating

  Florida RICO, section 895.03, Florida Statutes, and one count of violating the Florida

  Communications Fraud Act, section 817.043, Florida Statutes.

         287.      Kunkemoeller unlawfully, knowingly, and willfully combined, conspired,

  confederated, and agreed together and with others to violate sections 772.103(3) and 895.03(3),

  Florida Statutes, as described above, in violation of sections 772.103(4) and 895.03(4), Florida

  Statutes.

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         288.    Upon information and belief, Kunkemoeller knew that he was engaged in a

  conspiracy to commit the predicate acts, and knew that the predicate acts were part of such

  racketeering activity, and his participation in each of them was necessary to allow the

  commission of this pattern of racketeering activity. This conduct constitutes a conspiracy to

  violate sections 772.103(3) and 895.03(3), Florida Statutes, in violation of sections 772.103(4)

  and 895.03(4), Florida Statutes.

         289.    As a direct and proximate result of Kunkemoeller’s conspiracy, the overt acts

  taken in furtherance of that conspiracy, and the racketeering activities in violation of sections

  772.103(3) and 895.03(3), Florida Statutes, Plaintiffs have been injured in their business and

  property.

         290.    Pursuant to section 772.104(1), Plaintiffs are entitled to treble damages plus

  costs and attorneys’ fees from Kunkemoeller.

         291.    Pursuant to sections 895.05(1) and (6), Florida Statutes, Plaintiffs are entitled

  to an injunction preventing Kunkemoeller from committing further violations of section

  895.03, Florida Statutes.

         WHEREFORE, Plaintiffs demand judgment against Kunkemoeller and relief as

  follows:

                a) An order that Kunkemoeller, his officers, agents, employees, and any persons

                   in active concert or participation with them be restrained and enjoined from

                   directly or indirectly transferring, selling, alienating, liquidating, converting,

                   withdrawing, or otherwise disposing of any money or other of

                   Kunkemoeller’s assets;

                b) Damages, trebled according to section 772.104, Florida Statutes for which all

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                     RICO Defendants are jointly and severally liable;

                 c) Entry of an injunction preventing Kunkemoeller from committing further

                     violations of section 895.03, Florida Statutes;

                 d) A finding of alter ego liability between Kunkemoeller and his controlled

                     entities;

                 e) Pre-judgment interest;

                 f) Plaintiffs’ reasonable attorneys’ fees and costs according to section 772.104,

                     Florida Statutes;

                 g) An accounting of Kunkemoeller’s assets; and

                 h) Imposition of an equitable lien and constructive trust.

        COUNT XIV: FLORIDA RICO (Sections 772.103 & 895.03, Florida Statutes)
                             (Against Mary May)

          292.     Plaintiffs incorporate by reference paragraphs 1 through 196 of this Complaint

  as if set forth in full.

          293.     Mary May is a member of the May Enterprise, an “association-in-fact”

  enterprise under sections 772.102(3) and 895.02(3), Florida Statutes. Mary May agreed to and

  did conduct and participate in the conduct of the May Enterprise’s affairs through a pattern of

  racketeering activity in furtherance of the May Enterprise Scheme.

          294.     Mary May engaged in at least two predicate acts within a ten-year period that

  constitute a pattern of “racketeering activities” under the Florida Civil Remedies for Criminal

  Practices Act, section 772.102, Florida Statutes, and Florida RICO, section 895.02, Florida

  Statutes. These racketeering activities were aimed at intentionally defrauding the Plaintiffs of

  substantial sums of money, enriching the RICO Defendants and others that may yet be


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  unidentified, and concealing these activities. Specific predicate acts that Mary May engaged

  in include, but are not limited to, the following:

             a. In violation of section 817.034, Florida Statutes, at the direction of Mary May,

                 Rearden Capital conducted or participated in financial transactions through wire

                 of proceeds derived from the Fraudulent Invoicing Scheme, as described in

                 Paragraphs 113 through 127; 129 through 131; 159 through 164; and 186.

             b. In violation of section 817.034, Florida Statutes, at the direction of Mary May,

                 Leekca Properties conducted or participated in financial transactions through

                 wire of proceeds derived from the Fraudulent Invoicing Scheme, as described

                 in Paragraphs 153 through 158.

             c. In violation of section 817.034, Florida Statutes, at the direction of Mary May,

                 Broadway Properties conducted or participated in financial transactions through

                 wire of proceeds derived from the Fraudulent Invoicing Scheme, as described

                 in Paragraph 163.

             d. In violation of section 817.034, Florida Statutes, at the direction of Mary May,

                 Roosevelt Property conducted or participated in financial transactions through

                 wire of proceeds derived from the Fraudulent Invoicing Scheme, as described

                 in Paragraphs 150 through 153.

             e. In violation of section 817.034, Florida Statutes, at the direction of Mary May,

                 840 W. State St. conducted or participated in financial transactions through wire

                 of proceeds derived from the Fraudulent Invoicing Scheme, as described in

                 Paragraphs 32 and 175.

             f. In violation of section 817.034, Florida Statutes, at the direction of Mary May,

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                     Blue Victorian Property conducted or participated in financial transactions

                     through wire of proceeds derived from the Fraudulent Invoicing Scheme, as

                     described in Paragraph 164.

                g. In violation of section 817.034, Florida Statutes, at the direction of Mary May,

                     Crossburn Properties conducted or participated in financial transactions through

                     wire of proceeds derived from the Fraudulent Invoicing Scheme, as described

                     in Paragraphs 130 through 131; 151; and 153.

                h. In violation of section 817.034, Florida Statutes, at the direction of Mary May,

                     Main Street Properties conducted or participated in financial transactions

                     through wire of proceeds derived from the Fraudulent Invoicing Scheme, as

                     described in Paragraph 162.

                i. In violation of section 817.034, Florida Statutes, at the direction of Mary May,

                     Market Canton conducted or participated in financial transactions through wire

                     of proceeds derived from the Fraudulent Invoicing Scheme, as described in

                     Paragraphs 167 through 168.

                j.   In violation of section 896.101, Florida Statutes, Mary May conducted or

                     participated in financial transactions designed to disguise the nature, location,

                     source, ownership, or control of proceeds from the Fraudulent Invoicing

                     Scheme, including, but not limited to, those financial transactions identified in

                     Paragraphs 69 through 99; 128 through 131; 146 through 172; and 173 through

                     176.

         295.        Mary May unlawfully, knowingly, and willfully combined, conspired,

  confederated, and agreed together and with others to violate sections 772.103(3) and 895.03(3),

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  Florida Statutes, as described above, in violation of sections 772.103(4) and 895.03(4), Florida

  Statutes.

         296.    Upon information and belief, Mary May knew that she was engaged in a

  conspiracy to commit the predicate acts, and knew that the predicate acts were part of such

  racketeering activity, and her participation in each of them was necessary to allow the

  commission of this pattern of racketeering activity. This conduct constitutes a conspiracy to

  violate sections 772.103(3) and 895.03(3), Florida Statutes, in violation of sections 772.103(4)

  and 895.03(4), Florida Statutes.

         297.    As a direct and proximate result of Mary May’s conspiracy, the overt acts taken

  in furtherance of that conspiracy, and the racketeering activities in violation of sections

  772.103(3) and 895.03(3), Florida Statutes, Plaintiffs have been injured in their business and

  property.

         298.    Pursuant to section 772.104(1), Plaintiffs are entitled to treble damages plus

  costs and attorneys’ fees from Mary May.

         299.    Pursuant to sections 895.05(1) and (6), Florida Statutes, Plaintiffs are entitled

  to an injunction preventing Mary May from committing further violations of section 895.03,

  Florida Statutes.

         WHEREFORE, Plaintiffs demand judgment against Mary May and relief as follows:

                a) An order that Mary May, her officers, agents, employees, and any persons in

                      active concert or participation with them be restrained and enjoined from

                      directly or indirectly transferring, selling, alienating, liquidating, converting,

                      withdrawing, or otherwise disposing of any money or other of Mary May’s

                      assets;

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                 b) Damages, trebled according to section 772.104, Florida Statutes for which all

                     RICO Defendants are jointly and severally liable;

                 c) Entry of an injunction preventing Mary May from committing further

                     violations of section 895.03, Florida Statutes;

                 d) A finding of alter ego liability between Mary May and her controlled entities,

                     including the Morningwood Trust;

                 e) Pre-judgment interest;

                 f) Plaintiffs’ reasonable attorneys’ fees and costs according to section 772.104,

                     Florida Statutes;

                 g) An accounting of Mary May’s assets; and

                 h) Imposition of an equitable lien and constructive trust.

         COUNT XV: FLORIDA RICO (Sections 772.103 & 895.03, Florida Statutes)
                        (Against Susan M. Kunkemoeller)

          300.     Plaintiffs incorporate by reference paragraphs 1 through 196 of this Complaint

  as if set forth in full.

          301.     Susan Kunkemoeller is a member of the May Enterprise, an “association-in-

  fact” enterprise under sections 772.102(3) and 895.02(3), Florida Statutes.               Susan

  Kunkemoeller agreed to and did conduct and participate in the conduct of the May Enterprise’s

  affairs through a pattern of racketeering activity in furtherance of the May Enterprise Scheme.

          302.     Susan Kunkemoeller engaged in at least two predicate acts within a ten-year

  period that constitute a pattern of “racketeering activities” under the Florida Civil Remedies

  for Criminal Practices Act, section 772.102, Florida Statutes, and Florida RICO, section

  895.02, Florida Statutes. These racketeering activities were aimed at intentionally defrauding


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  the Plaintiffs of substantial sums of money, enriching the RICO Defendants and others that

  may yet be unidentified, and concealing these activities. Specific predicate acts that Susan

  Kunkemoeller engaged in include, but are not limited to, the following:

                a. In violation of section 817.034, Florida Statutes, Susan Kunkemoeller

                   conducted or participated in financial transactions through wire of proceeds

                   derived from the Fraudulent Invoicing Scheme, as described in Paragraphs 129

                   through 131; 146; 167 through 172.

                b. In violation of section 896.101, Florida Statutes, Susan Kunkemoeller conducted

                   or participated in financial transactions designed to disguise the nature, location,

                   source, ownership, or control of proceeds from the Fraudulent Invoicing

                   Scheme, including, but not limited to, those financial transactions identified in

                   Paragraphs 69 through 99; 128 through 131; and 146 through 172.

         303.      Susan Kunkemoeller unlawfully, knowingly, and willfully combined,

  conspired, confederated, and agreed together and with others to violate sections 772.103(3)

  and 895.03(3), Florida Statutes, as described above, in violation of sections 772.103(4) and

  895.03(4), Florida Statutes.

         304.      Upon information and belief, Susan Kunkemoeller knew that she was engaged

  in a conspiracy to commit the predicate acts, and knew that the predicate acts were part of such

  racketeering activity, and her participation in each of them was necessary to allow the

  commission of this pattern of racketeering activity. This conduct constitutes a conspiracy to

  violate sections 772.103(3) and 895.03(3), Florida Statutes, in violation of sections 772.103(4)

  and 895.03(4), Florida Statutes.



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         305.     As a direct and proximate result of Susan Kunkemoeller’s conspiracy, the overt

  acts taken in furtherance of that conspiracy, and the racketeering activities in violation of

  sections 772.103(3) and 895.03(3), Florida Statutes, Plaintiffs have been injured in their

  business and property.

         306.     Pursuant to section 772.104(1), Plaintiffs are entitled to treble damages plus

  costs and attorneys’ fees from Susan Kunkemoeller.

         307.     Pursuant to sections 895.05(1) and (6), Florida Statutes, Plaintiffs are entitled

  to an injunction preventing Susan Kunkemoeller from committing further violations of section

  895.03, Florida Statutes.

         WHEREFORE, Plaintiffs demand judgment against Susan Kunkemoeller and relief as

  follows:

                a) An order that Susan Kunkemoeller, her officers, agents, employees, and any

                persons in active concert or participation with them be restrained and enjoined

                from directly or indirectly transferring, selling, alienating, liquidating,

                converting, withdrawing, or otherwise disposing of any money or other of Susan

                Kunkemoeller’s assets;

                b) Damages, trebled according to section 772.104, Florida Statutes for which all

                RICO Defendants are jointly and severally liable;

                c) Entry of an injunction preventing Susan Kunkemoeller from committing

                further violations of section 895.03, Florida Statutes;

                d) A finding of alter ego liability between Susan Kunkemoeller and her

                controlled entities, including the Susan M. Kunkemoeller Trust;

                e) Pre-judgment interest;

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                  f) Plaintiffs’ reasonable attorneys’ fees and costs according to section 772.104,

                  Florida Statutes;

                  g) An accounting of Susan Kunkemoeller’s assets; and

                  h) Imposition of an equitable lien and constructive trust.

        COUNT XVI: FLORIDA RICO (Sections 772.103 & 895.03, Florida Statutes)
                          (Against School Warehouse)

          308.      Plaintiffs incorporate by reference paragraphs 1 through 196 of this Complaint

  as if set forth in full.

          309.      School Warehouse is a member of the May Enterprise, an “association-in-fact”

  enterprise under sections 772.102(3) and 895.02(3), Florida Statutes. School Warehouse

  agreed to and did conduct and participate in the conduct of the May Enterprise’s affairs through

  a pattern of racketeering activity in furtherance of the May Enterprise Scheme.

          310.      School Warehouse engaged in at least two predicate acts within a ten-year

  period that constitute a pattern of “racketeering activities” under the Florida Civil Remedies

  for Criminal Practices Act, section 772.102, Florida Statutes, and Florida RICO, section

  895.02, Florida Statutes. These racketeering activities were aimed at intentionally defrauding

  the Plaintiffs of substantial sums of money, enriching the RICO Defendants and others that

  may yet be unidentified, and concealing these activities. Specific predicate acts that School

  Warehouse engaged in include, but are not limited to, the following:

                 a. In violation of section 817.034, Florida Statutes, School Warehouse, at the

                    direction of Kunkemoeller, mailed the Plaintiffs fraudulent invoices that

                    included items substantially marked up above costs as part of the Fraudulent

                    Invoicing Scheme, including, but not limited to, those fraudulent invoices


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                    detailed in Paragraphs 74 through 99.

                 b. In violation of section 896.101, Florida Statutes, School Warehouse conducted

                    or participated in financial transactions designed to disguise the nature, location,

                    source, ownership, or control of proceeds from the Fraudulent Invoicing

                    Scheme, including, but not limited to, those financial transactions identified in

                    Paragraphs 69 through 99; 128 through 131; and 146 through 172.

          311.      School Warehouse unlawfully, knowingly, and willfully combined, conspired,

   confederated, and agreed together and with others to violate sections 772.103(3) and 895.03(3),

   Florida Statutes, as described above, in violation of sections 772.103(4) and 895.03(4), Florida

   Statutes.

          312.      Upon information and belief, School Warehouse knew that it was engaged in a

   conspiracy to commit the predicate acts, and knew that the predicate acts were part of such

   racketeering activity, and its participation in each of them was necessary to allow the

   commission of this pattern of racketeering activity. This conduct constitutes a conspiracy to

   violate sections 772.103(3) and 895.03(3), Florida Statutes, in violation of sections 772.103(4)

   and 895.03(4), Florida Statutes.

          313.      As a direct and proximate result of School Warehouse’s conspiracy, the overt

   acts taken in furtherance of that conspiracy, and the racketeering activities in violation of

   sections 772.103(3) and 895.03(3), Florida Statutes, Plaintiffs have been injured in their

   business and property.

          314.      Pursuant to section 772.104(1), Plaintiffs are entitled to treble damages plus

   costs and attorneys’ fees from School Warehouse.



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          315.    Pursuant to sections 895.05(1) and (6), Florida Statutes, Plaintiffs are entitled

   to an injunction preventing School Warehouse from committing further violations of section

   895.03, Florida Statutes.

          WHEREFORE, Plaintiffs demand judgment against School Warehouse and relief as

   follows:

                 a) An order that School Warehouse, its officers, agents, employees, and any

                    persons in active concert or participation with them be restrained and enjoined

                    from directly or indirectly transferring, selling, alienating, liquidating,

                    converting, withdrawing, or otherwise disposing of any money or other of

                    School Warehouse’s assets;

                 b) Damages, trebled according to section 772.104, Florida Statutes for which all

                    RICO Defendants are jointly and severally liable;

                 c) Entry of an injunction preventing School Warehouse from committing further

                    violations of section 895.03, Florida Statutes;

                 d) A finding of alter ego liability between School Warehouse and its controlled

                    entities;

                 e) Pre-judgment interest;

                 f) Plaintiffs’ reasonable attorneys’ fees and costs according to section 772.104,

                    Florida Statutes;

                 g) An accounting of School Warehouse’s assets; and

                 h) Imposition of an equitable lien and constructive trust.




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         COUNT XVII: FLORIDA RICO (Sections 772.103 & 895.03, Florida Statutes)
                        (Against Newpoint Education Partners)

           316.      Plaintiffs incorporate by reference paragraphs 1 through 196 of this Complaint

   as if set forth in full.

           317.      Newpoint Education Partners is a member of the May Enterprise, an

   “association-in-fact” enterprise under sections 772.102(3) and 895.02(3), Florida Statutes.

   Newpoint Education Partners agreed to and did conduct and participate in the conduct of the

   May Enterprise’s affairs through a pattern of racketeering activity in furtherance of the May

   Enterprise Scheme.

           318.      Newpoint Education Partners engaged in at least two predicate acts within a ten-

   year period that constitute a pattern of “racketeering activities” under the Florida Civil

   Remedies for Criminal Practices Act, section 772.102, Florida Statutes, and Florida RICO,

   section 895.02, Florida Statutes. These racketeering activities were aimed at intentionally

   defrauding the Plaintiffs of substantial sums of money, enriching the RICO Defendants and

   others that may yet be unidentified, and concealing these activities. Specific predicate acts that

   Newpoint Education Partners engaged in include, but are not limited to, the following:

                  a. In violation of section 817.034, Florida Statutes, Newpoint Education Partners

                     engaged in various email communications with Apex Learning, wherein

                     Newpoint Education Partners devised a scheme or artifice to defraud the

                     Plaintiffs of substantial sums of money through the Fraudulent Apex Rebate

                     Scheme and negotiated with Apex Learning the terms of the scheme or artifice,

                     including, but not limited to, those communications described in Paragraphs 69

                     through 99 and 111 through 127.


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                 b. In violation of section 896.101, Florida Statutes, Newpoint Education Partners

                    conducted or participated in financial transactions through wire of proceeds

                    from the Fraudulent Invoice Scheme, including, but not limited to those

                    financial transactions described in Paragraphs 69 through 99; 128 through 131;

                    and 146 through 172.

          319.      Newpoint Education Partners unlawfully, knowingly, and willfully combined,

   conspired, confederated, and agreed together and with others to violate sections 772.103(3)

   and 895.03(3), Florida Statutes, as described above, in violation of sections 772.103(4) and

   895.03(4), Florida Statutes.

          320.      Upon information and belief, Newpoint Education Partners knew that it was

   engaged in a conspiracy to commit the predicate acts, and knew that the predicate acts were

   part of such racketeering activity, and its participation in each of them was necessary to allow

   the commission of this pattern of racketeering activity. This conduct constitutes a conspiracy

   to violate sections 772.103(3) and 895.03(3), Florida Statutes, in violation of sections

   772.103(4) and 895.03(4), Florida Statutes.

          321.      As a direct and proximate result of Newpoint Education Partners’ conspiracy,

   the overt acts taken in furtherance of that conspiracy, and the racketeering activities in violation

   of sections 772.103(3) and 895.03(3), Florida Statutes, Plaintiffs have been injured in their

   business and property.

          322.      Pursuant to section 772.104(1), Plaintiffs are entitled to treble damages plus

   costs and attorneys’ fees from Newpoint Education Partners.

          323.      Pursuant to sections 895.05(1) and (6), Florida Statutes, Plaintiffs are entitled

   to an injunction preventing Newpoint Education Partners from committing further violations

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   of section 895.03, Florida Statutes.

           WHEREFORE, Plaintiffs demand judgment against Newpoint Education Partners and

   relief as follows:

                 a) An order that Newpoint Education Partners, its officers, agents, employees,

                        and any persons in active concert or participation with them be restrained and

                        enjoined from directly or indirectly transferring, selling, alienating,

                        liquidating, converting, withdrawing, or otherwise disposing of any money or

                        other of Newpoint Education Partners’ assets;

                 b) Damages, trebled according to section 772.104, Florida Statutes for which all

                        RICO Defendants are jointly and severally liable;

                 c) A finding of alter ego liability between Newpoint Education Partners and its

                        controlled entities;

                 d) Entry of an injunction preventing Newpoint Education Partners from

                        committing further violations of section 895.03, Florida Statutes;

                 e) Pre-judgment interest;

                 f) Plaintiffs’ reasonable attorneys’ fees and costs according to section 772.104,

                        Florida Statutes;

                 g) An accounting of Newpoint Education Partners’ assets; and

                 h) Imposition of an equitable lien and constructive trust.




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        COUNT XVIII: FLORIDA RICO (Sections 772.103 & 895.03, Florida Statutes)
                       (Against Cambridge Education Group)

           324.      Plaintiffs incorporate by reference paragraphs 1 through 196 of this Complaint

   as if set forth in full.

           325.      Cambridge Education Group is a member of the May Enterprise, an

   “association-in-fact” enterprise under sections 772.102(3) and 895.02(3), Florida Statutes.

   Cambridge Education Group agreed to and did conduct and participate in the conduct of the

   May Enterprise’s affairs through a pattern of racketeering activity in furtherance of the May

   Enterprise Scheme.

           326.      Cambridge Education Group engaged in at least two predicate acts within a ten-

   year period that constitute a pattern of “racketeering activities” under the Florida Civil

   Remedies for Criminal Practices Act, section 772.102, Florida Statutes, and Florida RICO,

   section 895.02, Florida Statutes. These racketeering activities were aimed at intentionally

   defrauding the Plaintiffs of substantial sums of money, enriching the RICO Defendants and

   others that may yet be unidentified, and concealing these activities. Specific predicate acts that

   Cambridge Education Group engaged in include, but are not limited to, the following:

                  a. In violation of section 817.034, Florida Statutes, May, on behalf of Cambridge

                     Education Group, engaged in various email communications with Apex

                     Learning, where he devised a scheme or artifice to defraud the Plaintiffs of

                     substantial sums of money through the Fraudulent Apex Rebate Scheme and

                     negotiated with Apex Learning the terms of the scheme or artifice, including,

                     but not limited to, those communications described in Paragraphs 19; 53; 76; 69

                     through 99 and Paragraphs 111 through 127.


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                 b. In violation of section 817.034, Florida Statutes, May, on behalf of Cambridge

                    Education Group, directed Apex Learning to transmit to Rearden Capital

                    fraudulent kickbacks disguised as “rebates” derived from the Fraudulent Apex

                    Rebate Scheme through wire or other means, as described in Paragraphs 179

                    through 183.

                 c. In violation of section 896.101, Florida Statutes, Cambridge Education Group

                    conducted or participated in financial transactions designed to disguise the

                    nature, location, source, ownership, or control of proceeds derived from the

                    Fraudulent Invoicing Scheme and other component schemes of the May

                    Enterprise Scheme, including, but not limited to, those financial transactions

                    identified in Paragraphs 69 through 99; 128 through 131; and 146 through 172.

          327.      Cambridge Education Group unlawfully, knowingly, and willfully combined,

   conspired, confederated, and agreed together and with others to violate sections 772.103(3)

   and 895.03(3), Florida Statutes, as described above, in violation of sections 772.103(4) and

   895.03(4), Florida Statutes.

          328.      Upon information and belief, Cambridge Education Group knew that it was

   engaged in a conspiracy to commit the predicate acts, and knew that the predicate acts were

   part of such racketeering activity, and its participation in each of them was necessary to allow

   the commission of this pattern of racketeering activity. This conduct constitutes a conspiracy

   to violate sections 772.103(3) and 895.03(3), Florida Statutes, in violation of sections

   772.103(4) and 895.03(4), Florida Statutes.

          329.      As a direct and proximate result of Cambridge Education Group’s conspiracy,

   the overt acts taken in furtherance of that conspiracy, and the racketeering activities in violation

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   of sections 772.103(3) and 895.03(3), Florida Statutes, Plaintiffs have been injured in their

   business and property.

           330.    Pursuant to section 772.104(1), Plaintiffs are entitled to treble damages plus

   costs and attorneys’ fees from Cambridge Education Group.

           331.    Pursuant to sections 895.05(1), 895.05(6), Florida Statutes, Plaintiffs are

   entitled to an injunction preventing Cambridge Education Group from committing further

   violations of section 895.03, Florida Statutes.

           WHEREFORE, Plaintiffs demand judgment against Cambridge Education Group and

   relief as follows:

                  a) An order that Cambridge Education Group, its officers, agents, employees,

                        and any persons in active concert or participation with them be restrained and

                        enjoined from directly or indirectly transferring, selling, alienating,

                        liquidating, converting, withdrawing, or otherwise disposing of any money or

                        other of Cambridge Education Group’s assets;

                  b) Damages, trebled according to section 772.104, Florida Statutes for which all

                        RICO Defendants are jointly and severally liable;

                  c) Entry of an injunction preventing Cambridge Education Group from

                        committing further violations of section 895.03, Florida Statutes;

                  d) A finding of alter ego liability between Cambridge Education Group and its

                        controlled entities;

                  e) Pre-judgment interest;

                  f) Plaintiffs’ reasonable attorneys’ fees and costs according to section 772.104,

                        Florida Statutes;

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                   g) An accounting of Cambridge Education Group’s assets; and

                   h) Imposition of an equitable lien and constructive trust.

         COUNT XIX: FLORIDA RICO (Sections 772.103 & 895.03, Florida Statutes)
                             (Against Solo Products)

           332.      Plaintiffs incorporate by reference paragraphs 1 through 196 of this Complaint

   as if set forth in full.

           333.      Solo Products is a member of the May Enterprise, an “association-in-fact”

   enterprise under sections 772.102(3) and 895.02(3), Florida Statutes. Solo Products agreed to

   and did conduct and participate in the conduct of the May Enterprise’s affairs through a pattern

   of racketeering activity in furtherance of the May Enterprise Scheme.

           334.      Solo Products engaged in at least two predicate acts within a ten-year period

   that constitute a pattern of “racketeering activities” under the Florida Civil Remedies for

   Criminal Practices Act, section 772.102, Florida Statutes, and Florida RICO, section 895.02,

   Florida Statutes. These racketeering activities were aimed at intentionally defrauding the

   Plaintiffs of substantial sums of money, enriching the RICO Defendants and others that may

   yet be unidentified, and concealing these activities. Specific predicate acts that Solo Products

   engaged in include, but are not limited to, the following:

                  a. In violation of section 896.101, Florida Statutes, Solo Products conducted or

                     participated in financial transactions designed to disguise the nature, location,

                     source, ownership, or control of proceeds from the Fraudulent Invoicing

                     Scheme, including, but not limited to, those financial transactions identified in

                     Paragraphs 69 through 99; 128 through 131; and 146 through 172.

           335.      Solo Products unlawfully, knowingly, and willfully combined, conspired,


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   confederated, and agreed together and with others to violate sections 772.103(3) and 895.03(3),

   Florida Statutes, as described above, in violation of sections 772.103(4) and 895.03(4), Florida

   Statutes.

          336.    Upon information and belief, Solo Products knew that it was engaged in a

   conspiracy to commit the predicate acts, and knew that the predicate acts were part of such

   racketeering activity, and its participation in each of them was necessary to allow the

   commission of this pattern of racketeering activity. This conduct constitutes a conspiracy to

   violate sections 772.103(3) and 895.03(3), Florida Statutes, in violation of sections 772.103(4)

   and 895.03(4), Florida Statutes.

          337.    As a direct and proximate result of Solo Products’ conspiracy, the overt acts

   taken in furtherance of that conspiracy, and the racketeering activities in violation of sections

   772.103(3) and 895.03(3), Florida Statutes, Plaintiffs have been injured in their business and

   property.

          338.    Pursuant to section 772.104(1), Plaintiffs are entitled to treble damages plus

   costs and attorneys’ fees from Solo Products.

          339.    Pursuant to sections 895.05(1), 895.05(6), Florida Statutes, Plaintiffs are

   entitled to an injunction preventing Solo Products from committing further violations of section

   895.03, Florida Statutes.

          WHEREFORE, Plaintiffs demand judgment against Solo Products and relief as

   follows:

                 a) An order that Solo Products, its officers, agents, employees, and any persons

                    in active concert or participation with them be restrained and enjoined from

                    directly or indirectly transferring, selling, alienating, liquidating, converting,

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                      withdrawing, or otherwise disposing of any money or other of Solo Products’

                      assets;

                  b) Damages, trebled according to section 772.104, Florida Statutes for which all

                      RICO Defendants are jointly and severally liable;

                  c) Entry of an injunction preventing Solo Products from committing further

                      violations of section 895.03, Florida Statutes;

                  d) A finding of alter ego liability between Solo Products and its controlled

                      entities;

                  e) Pre-judgment interest;

                  f) Plaintiffs’ reasonable attorneys’ fees and costs according to section 772.104,

                      Florida Statutes;

                  g) An accounting of Solo Products’ assets; and

                  h) Imposition of an equitable lien and constructive trust.

          COUNT XX: FLORIDA RICO (Sections 772.103 & 895.03, Florida Statutes)
                          (Against Direct Store Delivery)

           340.     Plaintiffs incorporate by reference paragraphs 1 through 196 of this Complaint

   as if set forth in full.

           341.     Direct Store Delivery is a member of the May Enterprise, an “association-in-

   fact” enterprise under sections 772.102(3) and 895.02(3), Florida Statutes. Direct Store

   Delivery agreed to and did conduct and participate in the conduct of the May Enterprise’s

   affairs through a pattern of racketeering activity in furtherance of the May Enterprise Scheme.

           342.     Direct Store Delivery engaged in at least two predicate acts within a ten-year

   period that constitute a pattern of “racketeering activities” under the Florida Civil Remedies


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   for Criminal Practices Act, section 772.102, Florida Statutes, and Florida RICO, section

   895.02, Florida Statutes. These racketeering activities were aimed at intentionally defrauding

   the Plaintiffs of substantial sums of money, enriching the RICO Defendants and others that

   may yet be unidentified, and concealing these activities. Specific predicate acts that Direct

   Store Delivery engaged in include, but are not limited to, the following:

                 a. In violation of section 896.101, Florida Statutes, Direct Store Delivery

                    conducted or participated in financial transactions designed to disguise the

                    nature, location, source, ownership, or control of proceeds from the Fraudulent

                    Invoicing Scheme, including, but not limited to, those financial transactions

                    identified in Paragraphs 69 through 99; 128 through 131; and 146 through 172.

          343.      Direct Store Delivery unlawfully, knowingly, and willfully combined,

   conspired, confederated, and agreed together and with others to violate sections 772.103(3)

   and 895.03(3), Florida Statutes, as described above, in violation of sections 772.103(4) and

   895.03(4), Florida Statutes.

          344.      Upon information and belief, Direct Store Delivery knew that it was engaged in

   a conspiracy to commit the predicate acts, and knew that the predicate acts were part of such

   racketeering activity, and its participation in each of them was necessary to allow the

   commission of this pattern of racketeering activity. This conduct constitutes a conspiracy to

   violate sections 772.103(3) and 895.03(3), Florida Statutes, in violation of sections 772.103(4)

   and 895.03(4), Florida Statutes.

          345.      As a direct and proximate result of Direct Store Delivery’s conspiracy, the overt

   acts taken in furtherance of that conspiracy, and the racketeering activities in violation of

   sections 772.103(3) and 895.03(3), Florida Statutes, Plaintiffs have been injured in their

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   business and property.

          346.    Pursuant to section 772.104(1), Plaintiffs are entitled to treble damages plus

   costs and attorneys’ fees from Direct Store Delivery.

          347.    Pursuant to sections 895.05(1), 895.05(6), Florida Statutes, Plaintiffs are

   entitled to an injunction preventing Direct Store Delivery from committing further violations

   of section 895.03, Florida Statutes.

          WHEREFORE, Plaintiffs demand judgment against Direct Store Delivery and relief as

   follows:

                 a) An order that Direct Store Delivery, its officers, agents, employees, and any

                    persons in active concert or participation with them be restrained and enjoined

                    from directly or indirectly transferring, selling, alienating, liquidating,

                    converting, withdrawing, or otherwise disposing of any money or other of

                    Direct Store Delivery’s assets;

                 b) Damages, trebled according to section 772.104, Florida Statutes for which all

                    RICO Defendants are jointly and severally liable;

                 c) Entry of an injunction preventing Direct Store Delivery from committing

                    further violations of section 895.03, Florida Statutes;

                 d) A finding of alter ego liability between Direct Store Delivery and its

                    controlled entities;

                 e) Pre-judgment interest;

                 f) Plaintiffs’ reasonable attorneys’ fees and costs according to section 772.104,

                    Florida Statutes;

                 g) An accounting of Direct Store Delivery’s assets; and

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                   h) Imposition of an equitable lien and constructive trust.

         COUNT XXI: FLORIDA RICO (Sections 772.103 & 895.03, Florida Statutes)
                           (Against Red Ignition, LLC)

           348.      Plaintiffs incorporate by reference paragraphs 1 through 196 of this Complaint

   as if set forth in full.

           349.      Red Ignition, LLC is a member of the May Enterprise, an “association-in-fact”

   enterprise under sections 772.102(3) and 895.02(3), Florida Statutes. Red Ignition, LLC

   agreed to and did conduct and participate in the conduct of the May Enterprise’s affairs through

   a pattern of racketeering activity in furtherance of the May Enterprise Scheme.

           350.      Red Ignition, LLC engaged in at least two predicate acts within a ten-year period

   that constitute a pattern of “racketeering activities” under the Florida Civil Remedies for

   Criminal Practices Act, section 772.102, Florida Statutes, and Florida RICO, section 895.02,

   Florida Statutes. These racketeering activities were aimed at intentionally defrauding the

   Plaintiffs of substantial sums of money, enriching the RICO Defendants and others that may

   yet be unidentified, and concealing these activities. Specific predicate acts that Red Ignition,

   LLC engaged in include, but are not limited to, the following:

                  a. In violation of section 817.034, Florida Statutes, Red Ignition, LLC, at the

                     direction of May, mailed Palm Bay Education fraudulent invoices that included

                     items substantially marked up above costs as part of the Fraudulent Invoicing

                     Scheme, including, but not limited to, those fraudulent invoices detailed in

                     Paragraphs 59; 75; 69 through 99; and 105 through 106.

                  b. In violation of section 817.034, Florida Statutes, Red Ignition, LLC, at the

                     direction of May, mailed Palm Bay Education fraudulent invoices that included


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                  items substantially marked up above costs as part of the Fraudulent Invoicing

                  Scheme, including, but not limited to, those fraudulent invoices detailed in

                  Paragraphs 69 through 99; 128 through 131; 146 through 172; and 185.

          351.    Red Ignition, LLC unlawfully, knowingly, and willfully combined, conspired,

   confederated, and agreed together and with others to violate sections 772.103(3) and 895.03(3),

   Florida Statutes, as described above, in violation of sections 772.103(4) and 895.03(4), Florida

   Statutes.

          352.    Upon information and belief, Red Ignition, LLC knew that it was engaged in a

   conspiracy to commit the predicate acts, and knew that the predicate acts were part of such

   racketeering activity, and its participation in each of them was necessary to allow the

   commission of this pattern of racketeering activity. This conduct constitutes a conspiracy to

   violate sections 772.103(3) and 895.03(3), Florida Statutes, in violation of sections 772.103(4)

   and 895.03(4), Florida Statutes.

          353.    As a direct and proximate result of Red Ignition, LLC’s conspiracy, the overt

   acts taken in furtherance of that conspiracy, and the racketeering activities in violation of

   sections 772.103(3) and 895.03(3), Florida Statutes, Plaintiffs have been injured in their

   business and property.

          354.    Pursuant to section 772.104(1), Plaintiffs are entitled to treble damages plus

   costs and attorneys’ fees from Red Ignition, LLC.

          355.    Pursuant to sections 895.05(1), 895.05(6), Florida Statutes, Plaintiffs are

   entitled to an injunction preventing Red Ignition, LLC from committing further violations of

   section 895.03, Florida Statutes.



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           WHEREFORE, Plaintiffs demand judgment against Red Ignition, LLC and relief as

   follows:

                  a) An order that Red Ignition, LLC, its officers, agents, employees, and any

                      persons in active concert or participation with them be restrained and enjoined

                      from directly or indirectly transferring, selling, alienating, liquidating,

                      converting, withdrawing, or otherwise disposing of any money or other of Red

                      Ignition, LLC’s assets;

                  b) Damages, trebled according to section 772.104, Florida Statutes for which all

                      RICO Defendants are jointly and severally liable;

                  c) Entry of an injunction preventing Red Ignition, LLC from committing further

                      violations of section 895.03, Florida Statutes;

                  d) A finding of alter ego liability between Red Ignition, LLC, and its controlled

                      entities;

                  e) Pre-judgment interest;

                  f) Plaintiffs’ reasonable attorneys’ fees and costs according to section 772.104,

                      Florida Statutes;

                  g) An accounting of Red Ignition, LLC’s assets; and

                  h) Imposition of an equitable lien and constructive trust.

         COUNT XXII: FLORIDA RICO (Sections 772.103 & 895.03, Florida Statutes)
                            (Against Rearden Capital)

           356.     Plaintiffs incorporate by reference paragraphs 1 through 196 of this Complaint

   as if set forth in full.

           357.     Rearden Capital is a member of the May Enterprise, an “association-in-fact”


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   enterprise under sections 772.102(3) and 895.02(3), Florida Statutes. Rearden Capital agreed

   to and did conduct and participate in the conduct of the May Enterprise’s affairs through a

   pattern of racketeering activity in furtherance of the May Enterprise Scheme.

          358.      Rearden Capital engaged in at least two predicate acts within a ten-year period

   that constitute a pattern of “racketeering activities” under the Florida Civil Remedies for

   Criminal Practices Act, section 772.102, Florida Statutes, and Florida RICO, section 895.02,

   Florida Statutes. These racketeering activities were aimed at intentionally defrauding the

   Plaintiffs of substantial sums of money, enriching the RICO Defendants and others that may

   yet be unidentified, and concealing these activities. Specific predicate acts that Rearden

   Capital engaged in include, but are not limited to, the following:

                 a. In violation of section 896.101, Florida Statutes, Rearden Capital conducted or

                    participated in financial transactions designed to disguise the nature, location,

                    source, ownership, or control of proceeds from the Fraudulent Invoicing

                    Scheme, including, but not limited to, those financial transactions identified in

                    Paragraphs 69 through 99; 128 through 131; 146 through 172; and 185.

          359.      Rearden Capital unlawfully, knowingly, and willfully combined, conspired,

   confederated, and agreed together and with others to violate sections 772.103(3) and 895.03(3),

   Florida Statutes, as described above, in violation of sections 772.103(4) and 895.03(4), Florida

   Statutes.

          360.      Upon information and belief, Rearden Capital knew that it was engaged in a

   conspiracy to commit the predicate acts, and knew that the predicate acts were part of such

   racketeering activity, and its participation in each of them was necessary to allow the

   commission of this pattern of racketeering activity. This conduct constitutes a conspiracy to

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   violate sections 772.103(3) and 895.03(3), Florida Statutes, in violation of sections 772.103(4)

   and 895.03(4), Florida Statutes.

          361.    As a direct and proximate result of Rearden Capital’s conspiracy, the overt acts

   taken in furtherance of that conspiracy, and the racketeering activities in violation of sections

   772.103(3) and 895.03(3), Florida Statutes, Plaintiffs have been injured in their business and

   property.

          362.    Pursuant to section 772.104(1), Plaintiffs are entitled to treble damages plus

   costs and attorneys’ fees from Rearden Capital.

          363.    Pursuant to sections 895.05(1), 895.05(6), Florida Statutes, Plaintiffs are

   entitled to an injunction preventing Rearden Capital from committing further violations of

   section 895.03, Florida Statutes.

          WHEREFORE, Plaintiffs demand judgment against Rearden Capital and relief as

   follows:

                 a) An order that Rearden Capital, its officers, agents, employees, and any

                    persons in active concert or participation with them be restrained and enjoined

                    from directly or indirectly transferring, selling, alienating, liquidating,

                    converting, withdrawing, or otherwise disposing of any money or other of

                    Rearden Capital’s assets;

                 b) Damages, trebled according to section 772.104, Florida Statutes for which all

                    RICO Defendants are jointly and severally liable;

                 c) Entry of an injunction preventing Rearden Capital from committing further

                    violations of section 895.03, Florida Statutes;

                 d) A finding of alter ego liability between Rearden Capital and its controlled

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                      entities;

                   e) Pre-judgment interest;

                   f) Plaintiffs’ reasonable attorneys’ fees and costs according to section 772.104,

                      Florida Statutes;

                   g) An accounting of Rearden Capital’s assets; and

                   h) Imposition of an equitable lien and constructive trust.

                           COUNT XXIII: UNJUST ENRICHMENT
                  (Against May, Kunkemoeller, Mary May, School Warehouse,
               Solo Products, Direct Store Delivery, Newpoint Education Partners,
                     Cambridge Education Group, and Affiliate Defendants)

            364.    Plaintiffs incorporate by reference paragraphs 1 through 196 of this Complaint

   as if set forth in full.

            365.    Under Florida law, a plaintiff is entitled to restitution where the defendant was

   unjustly enriched at the expense of the plaintiff. Gonzalez v. Eagle Ins. Co., 948 So. 2d 1, 3

   (Fla. 3d DCA 2006). The elements of a cause of action for unjust enrichment are: 1.) the

   plaintiff has conferred a benefit on the defendant, who has knowledge thereof; 2.) the defendant

   voluntarily accepted and retained the benefit conferred; and 3.) the circumstances are such that

   it would be inequitable for the defendant to retain the benefit without paying the value thereof

   to the plaintiff. Hillman Construction Corp. v. Wainer, 636 So. 2d 576, 577 (Fla. 4th DCA

   1994).

            366.    In billing the Plaintiffs for furniture and equipment based upon fraudulent

   invoices, Defendants May, Kunkemoeller, Mary May, School Warehouse, Solo Products,

   Direct Store Delivery, Newpoint Education Partners, Cambridge Education Group, and

   Affiliate Defendants (collectively referred to herein, as the “Count XXI Defendants”) received

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   a benefit from Plaintiffs through improper and unlawful means by way of the Fraudulent

   Invoicing Scheme.

           367.     The Count XXI Defendants knew or should have known this benefit was

   conferred upon them.

           368.     The circumstances are such that it would be inequitable for the Count XXI

   Defendants to retain these funds or the real property acquired by these funds. Equity and good

   conscience demand that the Defendants pay restitution to the Plaintiffs and that an equitable

   lien and/or constructive trust be imposed on the proceeds of the May Enterprise Scheme.

           WHEREFORE, Plaintiffs demand judgment against the Count XXI Defendants for

   restitution, equitable lien, constructive trust, Plaintiffs’ reasonable attorneys’ fees, costs, and

   any other relief this Court may deem just and appropriate.

                  COUNT XXIV: FRAUDULENT MISREPRESENTATION,
                                 ARTIFICE, OR SCHEME
       (Against May, Mary May, Steven Kunkemoeller, Susan M. Kunkemoeller, School
             Warehouse, Red Ignition, LLC, and Newpoint Education Partners)

           369.     Plaintiffs incorporate by reference paragraphs 1 through 196 of this Complaint

   as if set forth in full.

           370.     Under Florida law, a claim of fraudulent misrepresentation includes the

   following elements: 1) a false statement concerning a material fact; 2) the representor’s

   knowledge that the representation is false; 3) an intention that the representation induce another

   to act on it; and 4) consequent injury by the party acting in reliance on the representation.

   Fuller v. Mortgage Electronic Registration Systems, Inc., 888 F. Supp. 2d 1257, 1276 (M.D.

   Fla. 2012).




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                                             Marcus May

          371.     May acted as an agent and fiduciary of each of the Plaintiffs, by way of those

   certain Management Agreements each Plaintiff entered into with Newpoint Education Partners.

   May took advantage of the authority granted to him by way of the Plaintiff’s Management

   Agreements with Newpoint Education Partners in order to enrich himself.

          372.     Rather than making fiscal decisions for the Plaintiffs that were in their best

   interest, May induced Plaintiffs to purchase furniture, equipment, supplies, and services from

   companies in which he had a direct or indirect interest. May would directly or indirectly

   receive illegal kickbacks once the schools purchased goods or services from one of these

   related companies.

          373.     May concealed the nature of his relationship with each of these business entities.

          374.     May created or directed others to create fraudulent invoices to send to the

   Plaintiffs with prices for the furniture, equipment, supplies, and services marked well above

   market value.

          375.     The Plaintiffs acted on May’s representations and purchased furniture,

   equipment, supplies, and services from the suppliers he recommended.

          376.     Plaintiffs were injured by way of May’s fraudulent misrepresentations.

          377.     The Plaintiffs suffered injuries, in that they paid for the furniture, equipment,

   supplies, and services from the suppliers at prices well in excess of market value.

                                        Steven Kunkemoeller

          378.     Kunkemoeller worked in conjunction with May to devise and perpetrate the

   Fraudulent Invoicing Scheme described in Paragraphs 69 through 99.

          379.     Kunkemoeller formed School Warehouse as a shell company to perpetrate the

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   Fraudulent Invoicing Scheme.

          380.       At the direction of May, the Plaintiffs would place an order with School

   Warehouse to purchase furniture, equipment, and supplies. School Warehouse would then

   purchase the furniture, equipment, and supplies from a real vendor, create a fraudulent invoice

   with prices marked far above market value, and then bill the Plaintiffs based on the fraudulent

   invoice.

          381.       The Plaintiffs relied on the fraudulent invoices by paying the amounts

   represented thereon.

          382.       Kunkemoeller had an arrangement with May, whereby May would receive

   approximately half of the profits from School Warehouse’s racketeering activities.

          383.       Kunkemoeller never disclosed to the Plaintiffs the nature of his relationship

   with May or that of School Warehouse and worked to conceal this relationship.

          384.       The Plaintiffs suffered injuries, in that they paid for the furniture, equipment,

   supplies, and services from the suppliers at prices well in excess of market value.

                                                Mary May

          385.       Mary May played a key role in the May Enterprise by creating shell companies

   that directly participated in the May Enterprise Scheme.

          386.       In an effort to conceal and impede the ability of victims of the May Enterprise

   Scheme to recover funds from which they were defrauded, Mary May and May agreed to a

   sham divorce, whereupon Mary May ended up with millions of dollars in ill-gotten cash and

   other property.

          387.       Plaintiffs were injured by the actions of Mary May.

          388.       The Plaintiffs suffered injuries, in that they paid for the furniture, equipment,

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   supplies, and services from the suppliers at prices well in excess of market value.

                                      Susan M. Kunkemoeller

          389.    Susan Kunkemoeller played a key role in the May Enterprise by directly

   participated in the May Enterprise Scheme.

          390.    In an effort to conceal and impede the ability of victims of the May Enterprise

   Scheme to recover funds from which they were defrauded, Susan Kunkemoeller materially

   assisted in, inter alia, the Money Laundering Scheme and the Real Estate Acquisition Scheme.

          391.    Plaintiffs were injured by the actions of Susan Kunkemoeller.

                                   Newpoint Education Partners

          392.    In each Management Contract, Defendant Newpoint Education Partners

   represented to the Plaintiffs that Newpoint Education Partners would seek “manufacturers and

   equipment that can assist the School to achieve its mission, educational goals and performance

   objectives.” Exhs. 3, 4, and 5. Newpoint Education Partners further represented it would

   identify possible alternative suppliers and perform due diligence regarding terms, conditions,

   and pricing. Id.

          393.    Defendants Newpoint Education Partners, School Warehouse, Red Ignition,

   LLC, May, and Kunkemoeller never revealed to the Plaintiffs the relationships that existed

   between them and worked to conceal this fact.

          394.    Defendant Newpoint Education Partners did not in fact explore alternative

   manufacturers or conduct due diligence when purchasing furniture and equipment, but

   purchased from Red Ignition, LLC or School Warehouse at prices well in excess of the amount

   the furniture and equipment actually cost.

          395.    Defendants Newpoint Education Partners, School Warehouse, Red Ignition,

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   LLC, May, and Kunkemoeller made these misrepresentations to the Plaintiffs in order to induce

   the Plaintiffs into purchasing furniture and equipment from the suppliers recommended by

   Newpoint Education Partners, which were in fact conduit business entities that were a part of

   the May Enterprise.

                                         Red Ignition, LLC

          396.    Red Ignition, LLC was a shell company that May created to perpetrate the

   Fraudulent Invoicing Scheme.

          397.    May acted as an agent and fiduciary of each of the Plaintiffs, by way of those

   certain Management Agreements each Plaintiff entered into with Newpoint Education Partners.

   May took advantage of the authority granted to him by way of the Plaintiff’s Management

   Agreements with Newpoint Education Partners in order to enrich himself.

          398.    As described in Paragraphs 69 through 99, May would induce the Plaintiffs to

   purchase furniture, equipment, and supplies from Red Ignition, LLC, which he directed and

   controlled. May never disclosed to the Plaintiffs his relationship with Red Ignition, LLC and

   made efforts to conceal this fact.

          399.    The Plaintiffs would place an order for furniture, equipment, or supplies with

   Red Ignition, LLC. May would then order the furniture, equipment, or supplies from a real

   vendor, create a fraudulent invoice with prices marked far above market value, and then bill

   the Plaintiffs based on the fraudulent invoice.

          400.    The Plaintiffs relied on the fraudulent invoices by paying the amounts

   represented thereon.

          401.    The Plaintiffs suffered injuries, in that they paid for the furniture, equipment,

   supplies, and services from the suppliers at prices well in excess of market value.

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                                             School Warehouse

           402.   School Warehouse was a shell company that Kunkemoeller created to

   perpetrate the Fraudulent Invoicing Scheme.

           403.   Kunkemoeller had an arrangement with May, whereby May would receive

   approximately half of the profits from School Warehouse’s racketeering activities

           404.   As described in Paragraphs 69 through 99, May would induce the Plaintiffs to

   purchase furniture, equipment, and supplies from School Warehouse.            Neither May nor

   Kunkemoeller ever disclosed to the Plaintiffs their relationship and made efforts to conceal this

   fact.

           405.   The Plaintiffs would place an order for furniture, equipment, or supplies with

   School Warehouse. School Warehouse, at the direction of Kunkemoeller, would then order

   the furniture, equipment, or supplies from a real vendor, create a fraudulent invoice with prices

   marked far above market value, and then bill the Plaintiffs based on the fraudulent invoice.

           406.   The Plaintiffs relied on the fraudulent invoices by paying the amounts

   represented thereon.

           407.   The Plaintiffs suffered injuries, in that they paid for the furniture, equipment,

   supplies, and services from the suppliers at prices well in excess of market value

                                              Damages

           408.   The Plaintiffs suffered damages as a direct result of the misrepresentations that

   were made by Defendants Newpoint Education Partners, School Warehouse, Red Ignition,

   LLC, May, Mary May, Kunkemoeller, and Susan Kunkemoeller.

           409.   The Plaintiffs are thereby entitled to an award of damages.



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          WHEREFORE, Plaintiffs demand judgment against Defendants Newpoint Education

   Partners, School Warehouse, Red Ignition, LLC, May, Mary May, Kunkemoeller, and Susan

   Kunkemoeller for damages, punitive damages, Plaintiffs’ reasonable attorneys’ fees, costs, and

   any other relief this Court may deem just and appropriate.

                            COUNT XXV: BREACH OF CONTRACT
                             (Against Newpoint Education Partners)

          410.     Plaintiffs incorporate by this reference paragraphs 1 through 196 as if fully set

   forth herein.

          411.     Each of the Plaintiffs entered into a Management Agreement with Newpoint

   Education Partners.

          412.     In each Management Agreement, Defendant Newpoint Education Partners

   represented to the Plaintiffs that Newpoint Education Partners would seek “manufacturers and

   equipment that can assist the School to achieve its mission, educational goals and performance

   objectives.” See Exhs. 3, 4, and 5. Newpoint Education Partners further represented it would

   identify possible alternative suppliers and perform due diligence regarding terms, conditions,

   and pricing. Id.

          413.     Newpoint Education Partners breached each Management Agreement by

   purchasing furniture and equipment from entities, such as School Warehouse and Red Ignition,

   LLC, that were directly related to May and Kunkemoeller. Newpoint Education Partners did

   not perform due diligence regarding terms, conditions, and pricing of furniture and equipment,

   but rather perpetrated a fraud against the Plaintiffs in order to divest them of substantial sums

   of money and enrich May, Kunkemoeller, and other defendants in this case.




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          414.    The Plaintiffs have each been damaged by Newpoint Education Partners breach

   of the Management Agreements.

          WHEREFORE, Plaintiffs demand judgment against Defendants Newpoint Education

   for damages, Plaintiffs’ reasonable attorneys’ fees, costs, and any other relief this Court may

   deem just and appropriate.

          Respectfully submitted this 7th day of June, 2019.

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